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         ORAL ARGUMENT SCHEDULED FOR MARCH 22, 2019
          CONSOLIDATED CASE NOS. 19-5042, 19-5043, 19-5044


            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT


                          DAMIEN GUEDES, et al.,

                                            Plaintiffs-Appellants,

                                      v.

  BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES, et al.

                                            Defendants-Appellees.


                On Appeal from the United States District Court
                        for the District of Columbia


                         BRIEF FOR APPELLEES


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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

       Pursuant to D.C. Circuit Rules 27(a)(4) and 28(a)(1), undersigned counsel

hereby certifies as follows:

       A.     Parties and Amici
       The defendants in district court in these consolidated appeals, and appellees

here, are William Barr, in his official capacity; the U.S. Bureau of Alcohol, Tobacco,

Firearms and Explosives; Thomas E. Brandon, in his official capacity; and the United

States of America. The plaintiffs in district court, and appellants here, are Damien

Guedes; Firearms Policy Coalition, Inc.; Firearms Policy Foundation; Madison Society

Foundation, Inc.; Shane Roden; Florida Carry, Inc.; David Codrea, Owen Monroe,

and Scott Heuman.

       There were no amici in district court. Amici or prospective amici in this Court

are the Cato Institute; Citizens for Responsibility and Ethics in Washington, Virginia

Canter, Don Fox, Marilyn Glenn, Karen Kucik, Richard Painter, Lawrence Reynolds,

and Trip Rothschild; the Giffords Law Center to Prevent Gun Violence; the New

Civil Liberties Alliance and W. Clark Aposhian; Morton Rosenberg; and law

professors Erwin Chemerinsky, Alan B. Morrison, Victoria Nourse, Peter M. Shane,

and Jed Shugerman.

       B.     Rulings Under Review
       The rulings under review are an order and memorandum entered on February

25, 2019, by Judge Dabney L. Friedrich, in the U.S. District Court for the District of
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Columbia, No. 1:18-cv-02988-DLF, Dkt Nos. 26 and 27. The memorandum opinion

will be reported in the F. Supp. 3d, and is available on Westlaw at 2019 WL 922594.

      C.     Related Cases
      The consolidated cases on review were not previously before this Court. There

are no related cases within the meaning of D.C. Circuit Rule 28(a)(1)(C).

                                                 s/ Brad Hinshelwood
                                                Brad Hinshelwood




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 Bureau of Alcohol, Tobacco, Firearms and Explosives    ATF
 Department of Justice                                  DOJ
 Federal Vacancies Reform Act                           FVRA
 Joint Appendix                                         JA
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                                   INTRODUCTION

        In 2017, a gunman killed 58 people and wounded 500 more using legally

 obtained semiautomatic rifles he turned into automatic weapons with commercially

 available devices known as bump stocks. Although the Bureau of Alcohol, Tobacco,

 Firearms and Explosives (ATF) had long interpreted the National Firearms Act to

 ban a subset of such devices as “machineguns,” ATF had provided approval for

 certain bump stocks to be sold to the public. In the wake of that shooting, ATF

 revisited its prior interpretations of the “machinegun” definition, and determined that

 it had been erroneously interpreting the term “automatically.” In order to provide the

 public with notice of its new interpretation and to provide guidance on how to

 proceed for individuals currently possessing bump stocks, the agency engaged in a

 rulemaking that culminated in the challenged rule, Bump-Stock Type Devices, 83 Fed.

 Reg. 66,514 (Dec. 26, 2018) (Rule).

        Plaintiffs put forth a variety of arguments to support a preliminary injunction

 against the Rule, but as the district court correctly held, none succeed. Plaintiffs

 contend that the agency’s interpretation conflicts with the statutory text, but in so

 doing they ignore the statute’s plain meaning, its legislative history, and long-standing

 interpretations of its terms. Plaintiffs fare no better in challenging the authority of

 then-Acting Attorney General Whitaker to promulgate the Rule. The President’s

 designation of Mr. Whitaker to serve as Acting Attorney General was expressly

 authorized by the Federal Vacancies Reform Act (FVRA), and was not foreclosed by
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 the Attorney General succession statute. The designation also was consistent with the

 Appointments Clause’s text and history as reflected in the established precedent of all

 three branches of government—and as confirmed by plaintiffs’ abandonment on

 appeal of their primary constitutional objection below. Moreover, the rule has now

 been formally ratified by Attorney General Barr, thereby validating the rule regardless

 of whether the Acting Attorney General had authority to promulgate it.

                         STATEMENT OF JURISDICTION

        Plaintiffs invoked the district court’s jurisdiction over their federal statutory and

 constitutional claims under 28 U.S.C. § 1331. The district court denied motions for a

 preliminary injunction on February 25, 2019. JA 16-17. Plaintiffs filed notices of

 appeal the same day. JA 7, 15. This Court has jurisdiction under 28 U.S.C.

 § 1292(a)(1).

                           STATEMENT OF THE ISSUES

        1) Whether the Rule sets forth the correct reading of the definition of

            “machinegun” in the National Firearms Act and whether the Rule is

            otherwise lawful;

        2) Whether the Rule was validly promulgated by Acting Attorney General

            Whitaker or validly ratified by Attorney General Barr.

                  PERTINENT STATUTES AND REGULATIONS

        Relevant excerpts from the pertinent statutes are reproduced in the addendum

 to this brief.
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                           STATEMENT OF THE CASE

       A.     Regulatory Background
       1. Over the last century, Congress has imposed increasingly strict regulations

 on the manufacture, sale, and possession of machine guns. The National Firearms

 Act of 1934, 26 U.S.C. Chapter 53, the first major federal statute to regulate guns,

 imposed various requirements on persons possessing or engaged in the business of

 selling particular “firearms” (including machine guns), such as requiring that each

 maker of a regulated firearm shall “obtain authorization” before manufacture. 26

 U.S.C. § 5841(c).

       The National Firearms Act defines a “machinegun” as “any weapon which

 shoots, is designed to shoot, or can be readily restored to shoot, automatically more

 than one shot, without manual reloading, by a single function of the trigger.” 26

 U.S.C. § 5845(b). Since 1968, the statute has also applied to parts that can be used to

 convert a weapon into a “machinegun.” See Gun Control Act of 1968, Pub. L. No.

 90-618, 82 Stat. 1213, 1231; H.R. Rep. No. 90-1956, at 34 (1968) (Conf. Rep.) (noting

 that the bill expands the definition of “machinegun”). The definition thus includes

 “the frame or receiver of any such weapon, any part designed and intended solely and

 exclusively, or combination of parts designed and intended, for use in converting a

 weapon into a machinegun, and any combination of parts from which a machinegun

 can be assembled if such parts are in the possession or under the control of a person.”

 26 U.S.C. § 5845(b).

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        In 1986, Congress again turned its attention to the dangers posed by machine

 guns and largely banned such firearms as part of the Firearm Owners’ Protection Act,

 Pub. L. No. 99-308, 100 Stat. 449; see also H.R. Rep. No. 99-495, at 2, 7 (1986),

 reprinted in 1986 U.S.C.C.A.N. 1327, 1328, 1333 (describing proposed machine gun

 restrictions as “benefits for law enforcement” and citing “the need for more effective

 protection of law enforcement officers from the proliferation of machine guns”); id. at

 4, 1986 U.S.C.C.A.N. at 1330 (describing machine guns as “used by racketeers and

 drug traffickers for intimidation, murder and protection of drugs and the proceeds of

 crime”). Under 18 U.S.C. § 922(o) it is “unlawful for any person to transfer or

 possess a machinegun” unless a governmental entity is involved in the transfer or

 possession. This prohibition does not apply, however, to machine guns that were

 lawfully possessed at the time Congress enacted the ban. Id. Congress continued to

 rely on the definition of “machinegun” found in the National Firearms Act. See id.

 § 921(a)(23).

        The Attorney General has authority to prescribe rules and regulations to

 enforce the National Firearms Act and subsequent legislation. 18 U.S.C. § 926(a); 26

 U.S.C. § 7805(a); see id. § 7801(a)(2)(A).

        2. Since Congress enacted the Firearm Owners Protection Act, the value of

 machine guns that were grandfathered under the statute has steadily increased. 83

 Fed. Reg. at 66,515. The resulting spike in prices “has spurred inventors and

 manufacturers to develop firearms, triggers, and other devices that permit shooters to
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 use semiautomatic rifles to replicate automatic fire without converting these rifles into

 ‘machineguns.’” Id. at 66,515-16. ATF has seen “a significant increase” in requests

 for classification of such devices since the 2004 expiration of the Public Safety and

 Recreational Firearms Use Protection Act, 18 U.S.C. § 921(a)(30), commonly known

 as the federal assault weapons ban. 83 Fed. Reg. at 66,516.

        This litigation involves “bump-stock-type” devices—which “[s]hooters use . . .

 with semiautomatic firearms to accelerate the firearm’s cyclic firing rate to mimic

 automatic fire,” 83 Fed. Reg. 66,516—and ATF’s interpretation of the terms

 “automatically” and “single function of the trigger” as used in the definition of

 “machinegun,” 26 U.S.C. § 5845(b). ATF first encountered this type of device in

 2002, when it received a classification request for the “Akins Accelerator.” 83 Fed.

 Reg. at 66,517. The Akins Accelerator, which attached to a standard semiautomatic

 rifle, used a spring to harness the recoil energy of each shot, causing “the firearm to

 cycle back and forth, impacting the trigger finger” repeatedly after the first pull of the

 trigger. Id. Thus, by pulling the trigger once, the shooter “initiated an automatic

 firing sequence” that was advertised as firing “approximately 650 rounds per minute.”

 Id. ATF initially determined that the Akins Accelerator was not a machine gun

 because it “interpreted the statutory term ‘single function of the trigger’ to refer to a

 single movement of the trigger.’” Id.

        In 2006, ATF revisited this determination, concluding that “the best

 interpretation of the phrase ‘single function of the trigger’ includes a ‘single pull of the
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 trigger.’” 83 Fed. Reg. 66,517. Because the Akins Accelerator created “a weapon that

 ‘[with] a single pull of the trigger initiates an automatic firing cycle that continues until

 the finger is released, the weapon malfunctions, or the ammunition supply is

 exhausted,’” ATF reclassified the device as a machine gun under the statute. Id.

 (quoting Akins v. United States, No. 8:08-cv-988, slip op. at 5 (M.D. Fla. Sept. 23,

 2008)). Expecting further classification requests for devices designed to increase the

 firing rate of semiautomatic weapons, ATF also published a public ruling announcing

 its interpretation of “single function of the trigger,” reviewing the National Firearms

 Act and its legislative history to explain that the term was best understood as “single

 pull of the trigger.” Add. 2-4.

        The inventor of the Akins Accelerator challenged ATF’s determination in

 court, but the Eleventh Circuit affirmed, holding that interpreting “single function of

 the trigger” as “‘single pull of the trigger’ is consonant with the statute and its

 legislative history.” Akins v. United States, 312 F. App’x 197, 200 (11th Cir. 2009) (per

 curiam).

        When it reclassified the Akins Accelerator, ATF advised that “removal and

 disposal of the internal spring . . . would render the device a non-machinegun under

 the statutory definition,” because the device would no longer operate “automatically.”

 83 Fed. Reg. 66,517. ATF soon received classification requests for other bump-stock-

 type devices that did not include internal springs. In a series of classification decisions

 between 2008 and 2017, ATF concluded that such devices were not machine guns
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 based on an erroneous belief that in the absence of internal springs or similar

 mechanical parts that would channel recoil energy, the bump stocks did not enable a

 gun to fire “automatically.” See id.

        3. In 2017, a shooter armed with semiautomatic weapons and bump stock

 devices killed 58 people and wounded 500 more in Las Vegas. 83 Fed. Reg. at 66,516.

 “The call for action in the wake of the 2017 mass shooting in Las Vegas, Nevada was

 immediate and widespread.” JA 25. At the urging of members of Congress and other

 non-governmental organizations, the Department of Justice (DOJ) decided to revisit

 its prior analysis of the terms used to define “machinegun” in 26 U.S.C. § 5845(b). As

 an initial step, DOJ published an advance notice of proposed rulemaking in the

 Federal Register. Application of the Definition of Machinegun to “Bump Fire” Stocks and Other

 Similar Devices, 82 Fed. Reg. 60,929 (Dec. 26, 2017). Public comment on the advance

 notice concluded on January 25, 2018. Id. at 60,929.

        On February 20, 2018, the President issued a memorandum concerning bump

 stocks to then-Attorney General Jefferson B. Sessions III. See Definition of Machinegun,

 83 Fed. Reg. 7949 (Feb. 20, 2018). The memorandum instructed the Department of

 Justice, working within established legal protocols, “to dedicate all available resources

 to complete the review of the comments received [in response to the advanced

 notice], and, as expeditiously as possible, to propose for notice and comment a rule

 banning all devices that turn legal weapons into machineguns.” Id.


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        On March 29, 2018, DOJ published a notice of proposed rulemaking,

 proposing changes to the regulations in 27 C.F.R. §§ 447.11, 478.11, and 479.11 that

 would interpret the meaning of the terms “single function of the trigger” and

 “automatically.” See Bump-Stock-Type Devices, 83 Fed. Reg. 13,442 (Mar. 29, 2018).

 Between the publication of the notice and the closing date for comments, June 27,

 2018, DOJ received over 186,000 comments. See 83 Fed. Reg. 66,519. On December

 18, 2018, then-Acting Attorney General Whitaker promulgated the Rule, which was

 published in the Federal Register on December 26, 2018. DOJ Announces Bump-Stock-

 Type Devices Final Rule (Dec. 18, 2018).1

        The Rule sets forth DOJ’s interpretations of the terms “single function of the

 trigger” and “automatically,” clarifies for members of the public that bump stocks are

 machine guns, and overrules ATF’s prior, erroneous classification decisions treating

 certain bump stocks as unregulated firearms parts. See 83 Fed. Reg. at 66,514, 66,516,

 66,531. The Rule further instructs “current possessors” of bump stocks “to

 undertake destruction of the devices” or to “abandon [them] at the nearest ATF

 office” by the Rule’s effective date. Id. at 66,549. Current owners of bump stocks

 therefore have until March 26, 2019 to comply with the Rule in order to “avoid

 criminal liability.” Id. at 66,530.




        1
            https://go.usa.gov/xEDrx (last visited March 12, 2019)
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        The Rule reaffirms DOJ’s interpretation of the phrase “single function of the

 trigger” to mean a “single pull of the trigger” and clarifies that the term also includes

 “analogous motions.” 83 Fed. Reg. at 66,515. In addition, the Rule clarifies that the

 term “automatically,” in the context of the statutory definition of machine gun, means

 “as the result of a self-acting or self-regulating mechanism that allows the firing of

 multiple rounds through a single function of the trigger.” Id. at 66,554. The Rule

 explains that these definitions “represent the best interpretation of the statute.” Id. at

 66,521.

        Relying on these definitions, the agency concluded in the Rule that “[t]he term

 ‘machine gun’ includes a [bump stock].” 83 Fed. Reg. at 66,553. This is because, the

 agency explained, bump stocks enable a user to engage in a firing sequence that is

 “automatic,” id. at 66,531; specifically, the agency observed that as long as the user’s

 trigger finger remains stationary on the ledge provided by the design of the device; the

 user maintains constant rearward pressure on the trigger; and the user engages in

 constant forward pressure with the non-trigger hand on the rifle, the firearm’s recoil

 energy is harnessed in a continuous back-and-forth cycle. Id. at 66,532. In this way, a

 bump stock constitutes a “self-regulating” or “self-acting” mechanism that allows the

 shooter to attain continuous firing after a single pull of the trigger, and is therefore a

 machine gun. Id.; see also id. at 66,514, 66,516.




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        B.     Appointments Clause and FVRA
        1. The Appointments Clause of Article II prescribes the method of

 appointment for all “Officers of the United States” whose appointments are not

 otherwise provided for in the Constitution. U.S. Const. art. II, § 2, cl. 2. “Officers” are

 those persons who hold a “continuing and permanent” federal position and exercise

 “significant authority pursuant to the laws of the United States.” Lucia v. SEC, 138 S.

 Ct. 2044, 2051 (2018). Principal officers, such as the Attorney General, are nominated

 by the President and appointed with the advice and consent of the Senate. Congress

 may vest the power to select inferior officers “in the President alone, in the Courts of

 Law, or in the Heads of Departments.” U.S. Const. art. II, § 2, cl. 2. Neither the

 Appointments Clause nor any other provision of the Constitution expressly addresses

 whether and in what circumstances an individual may serve in an acting capacity for a

 principal officer.

        2. Since 1792, Congress has provided for the designation of individuals to

 serve temporarily as acting principal officers in the event of vacancies. See, e.g., 1 Stat.

 279, 281 (1792) (authorizing “any person or persons” to fill certain vacancies in the

 Departments of State, Treasury, and War, including vacancies in the position of

 Secretary); 1 Stat. 415, 415 (1795) (extending the 1792 Act to all vacancies in the

 covered offices, but limiting tenure to six months). In the Vacancies Act of 1868,

 Congress provided as a default rule that in the case of a vacancy “of the head of any

 executive department of the government, the first or sole assistant thereof shall . . .
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 perform the duties of such head,” but it also authorized the President to bypass the

 “first assistant” default rule and designate a different Senate-confirmed official. 15

 Stat. 168, 168 (1868). The Vacancies Act further imposed a time limit on acting

 service, and it repealed all prior vacancies legislation. See id. After the Department of

 Justice was established in 1870, the President’s authority to bypass the Vacancies Act’s

 default rule was expressly made inapplicable to “the death, resignation, absence, or

 sickness of the Attorney General.” See Rev. Stat. § 179 (1874). Between 1868 and

 1988, Congress amended the Vacancies Act to extend the time limits for permissible

 acting service and include the vast majority of executive offices within its scope of

 coverage. See, e.g., Presidential Transitions Effectiveness Act, Pub. L. No. 100-398,

 § 7(b), 102 Stat. 985, 988 (1988).

       In addition to the Vacancies Act, Congress also enacted numerous office-

 specific vacancy statutes. The legislation establishing the Department of Justice

 initially provided that the Solicitor General would exercise the duties of the Attorney

 General in the event of a vacancy. See Rev. Stat. § 347 (1874). The current version of

 the Attorney General succession statute (which was also in place when Congress

 enacted the Federal Vacancies Reform Act in 1998) is 28 U.S.C. § 508 (“AG Act”).

 Section 508(a) provides that in the case of a vacancy in the office of Attorney

 General, “the Deputy Attorney General may exercise all the duties of that office, and

 for the purpose of section 3345 of title 5 [then the Vacancies Act and now the FVRA]

 the Deputy Attorney General is the first assistant to the Attorney General.” Section
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 508(b) further provides that, if the offices of Attorney General and Deputy Attorney

 General are both vacant, “the Associate Attorney General shall act as Attorney

 General,” and “[t]he Attorney General may designate the Solicitor General and the

 Assistant Attorneys General, in further order of succession, to act as Attorney

 General.”

        In 1998, Congress enacted the FVRA, 5 U.S.C. §§ 3345–3349d, to replace the

 Vacancies Act and provide comprehensive procedures for the President to designate

 an acting official to perform the duties of an executive officer whose appointment is

 subject to Senate confirmation whenever the incumbent “dies, resigns, or is otherwise

 unable to perform the functions and duties of the office.” 5 U.S.C. § 3345(a). The

 FVRA provides three options. First, absent any other presidential designation, the

 “first assistant” to the vacant office shall perform its functions and duties. Id.

 § 3345(a)(1). Second, the President may depart from that default course by

 designating another Senate-confirmed presidential appointee to perform the vacant

 office’s functions and duties. Id. § 3345(a)(2). And third, the President may designate

 an officer or employee within the same agency to perform the vacant office’s

 functions and duties, provided that he or she has been in the agency for at least 90

 days in the 365 days preceding the vacancy, in a position for which the rate of pay is

 equal to or greater than the minimum rate for GS-15 of the General Schedule. Id. §

 3345(a)(3). The second and third options are available even where the vacant office is

 the agency head. See id. § 3348(b)(2) (recognizing that the FVRA generally applies to
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 agency heads). An acting official designated under the FVRA can generally serve no

 longer than 210 days, subject to certain extensions depending on the Senate calendar

 and the status of nominations to fill the position. See id. § 3346.

        The FVRA also contains a list of specific offices to which it does not apply. 5

 U.S.C. § 3349c. The office of Attorney General is not one of those offices. To the

 contrary, in enacting the FVRA, Congress eliminated the previous exclusion for the

 office of Attorney General in the Vacancies Act, see 5 U.S.C. § 3347 (1994), while

 retaining section 508’s preexisting “first assistant” designation for purposes of section

 3345, see 28 U.S.C. § 508(a).

        The FVRA provides that its provisions for filling vacancies are generally the

 “exclusive means for temporarily authorizing an acting official to perform the

 functions and duties of any office [requiring Senate confirmation] of an Executive

 agency,” unless specified statutory exceptions apply. 5 U.S.C. § 3347(a). The

 exceptions to this exclusivity rule appear in § 3347(a)(1)-(2). One of the exceptions is

 for office-specific vacancy statutes, such as section 508. Id. § 3347(a)(1)(B).

 Consistent with the fact that such office-specific vacancy statutes render the FVRA

 non-exclusive rather than non-applicable, the FVRA’s legislative history confirms that

 the FVRA “continue[s] to provide an alternative procedure for temporarily occupying

 the office” when an office-specific vacancy statute is applicable. S. Rep. No. 105-250,

 at 15, 17 (1998).


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           3. On November 7, 2018, Attorney General Jefferson B. Sessions resigned. JA

 29. The President, relying on his authority under the FVRA, then expressly

 designated Matthew Whitaker, the Attorney General’s Chief of Staff, to perform the

 functions and duties of the Office of Attorney General. Id. Whitaker served as

 Acting Attorney General until William Barr was appointed, with the Senate’s consent,

 as Attorney General on February 15, 2019. JA 29-30. On March 11, 2019, Attorney

 General Barr ratified the Rule. See Bump-Stock-Type Devices (Mar. 11, 2019),

 https://go.usa.gov/xEsRD (to be published in the Federal Register Mar. 14, 2019).

           C.     Procedural History
           1. Three sets of plaintiffs filed suit challenging the Rule on multiple grounds.

 See JA 21-23. Specifically, plaintiffs challenged the rule under the Administrative

 Procedure Act (APA) as contrary to law and arbitrary and capricious. JA 21.

 Plaintiffs also argued that the Rule was invalid because it was promulgated by Acting

 Attorney General Whitaker. JA 21-22. All plaintiffs sought preliminary injunctive

 relief.

           2. On February 25, 2019, the district court denied plaintiffs’ request for a

 preliminary injunction.

           a. The district court rejected plaintiffs’ APA challenges to the Rule, explaining

 that defendants were likely to prevail on the merits. JA 33.

           The district court first held that the Rule’s interpretations of “single function of

 the trigger” and “automatically” were reasonable, applying the two-step framework of
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 Chevron v. Natural Resources Defense Council, 467 U.S. 837 (1984). JA 36-41. The court

 observed that although the term was ambiguous, DOJ “acted reasonably in defining

 the phrase ‘single function of the trigger’ to mean a ‘single pull of the trigger and

 analogous motions’” in light of “contemporaneous dictionary definitions and court

 decisions.” JA 38 (quoting 83 Fed. Reg. at 66,553). The court also concluded that

 DOJ “correctly defined ‘automatically’ to mean ‘functioning as the result of a self-

 acting or self-regulating mechanism that allows the firing of multiple rounds through a

 single function of the trigger’” based on “contemporaneous dictionary definitions”

 and United States v. Olofson, 563 F.3d 652, 658 (7th Cir. 2009). JA 38-39.

        The court further concluded that DOJ’s determination that bump stocks met

 the statutory and regulatory definition of “machine gun” was not arbitrary and

 capricious. JA 39-42. The court observed that “a bump stock operates with a single

 ‘pull’ of the trigger because a bump stock permits the shooter to discharge multiple

 rounds by, among other things, ‘maintaining the trigger finger on the device’s

 extension ledge with constant rearward pressure.’” JA 40 (quoting 83 Fed. Reg. at

 66,532). The court also recognized that “it was reasonable for ATF to determine that

 a bump stock relieves a shooter of enough of the otherwise necessary manual inputs

 to warrant the ‘automatic’ label,” because a bump stock “controls the distance the

 firearm recoils and ensures that the firearm moves linearly—two tasks the shooter

 would normally have to perform manually.” JA 40-41.


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        The district court also held that the agency adequately responded to comments

 regarding the breadth of the Rule, noting that DOJ explained in the rule that bump

 firing using a rubber band or belt loop does not involve automatic fire because “no

 device is present to capture and direct the recoil energy; rather, the shooter must do

 so.” JA 45-46 (quoting 83 Fed. Reg. at 66,533).

        b. The district court next rejected plaintiffs’ claims that the President’s

 designation of Acting Attorney General Whitaker violated the FVRA, the AG Act,

 and the Appointments Clause.

        First, the court concluded that the appointment did not violate the FVRA or

 the AG Act. JA 52. The court noted that “[t]he parties do not dispute that Whitaker

 satisfied the eligibility criteria in the FVRA and that both the FVRA and the AG Act

 apply.” JA 51. The court explained that the central question was whether the AG Act

 “displaces the FVRA unless and until the line of succession set forth in the AG Act

 has been exhausted.” JA 52.

        Beginning “as it must, with the text of the FVRA,” the district court explained

 that “the plain language of the FVRA, and its exclusivity provision in particular,

 substantially undercuts the [plaintiffs’] exhaustion theory.” JA 52. By providing that

 the FVRA is the “exclusive means” of temporarily filling a vacancy “unless” an

 agency-specific statute designates a successor, § 3347(a) does not render the FVRA

 unavailable when such a statute applies, but instead merely renders it not “exclusive.”

 Id.; see also id. at 57-61 (further refuting plaintiffs’ arguments based on text, legislative
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 history, and policy). By contrast, Congress expressly excluded certain offices from the

 reach of the FVRA, but did not do so with respect to the Office of the Attorney

 General, id. at 54, and, indeed, Congress in the FVRA eliminated the Vacancy Act’s

 exclusion of the Office of the Attorney General, JA 55.

       Second, the district court rejected plaintiffs’ argument that the designation of

 Whitaker to temporarily serve as Acting Attorney General violated the Appointments

 Clause. JA 63-80. The court noted that “the Supreme Court has repeatedly embraced

 the government’s view that it is the temporary nature of acting duties,” rather than

 factors such as supervision and exigency, “that permits an individual to perform them

 without becoming a principal officer under the Appointments Clause.” JA 64.

       The court refuted plaintiffs’ argument that the only individuals who may

 temporarily serve as an acting principal officer are another Senate-confirmed officer

 or a non-Senate-confirmed first assistant whose job responsibilities include stepping

 in for their supervisors in cases of vacancies. The court explained that plaintiffs’

 position was inconsistent with Supreme Court precedent and longstanding legislative

 and executive practice. JA 64-74. And the court also rejected plaintiffs’ alternative

 claim that Presidents may not select an employee, as opposed to an officer, to serve as

 an acting principal officer. JA 78-81. The court held that, “[a]ssuming without

 deciding that Whitaker was an employee before his designation and that an

 employee’s service as Acting Attorney General first requires an appointment [as an


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 officer], the FVRA authorized such an appointment and the President carried it out.”

 JA 79.

                              SUMMARY OF ARGUMENT

          The district court correctly denied plaintiffs’ request to preliminarily enjoin a

 rule explaining DOJ’s interpretation that the definition of “machinegun” in the

 National Firearms Act includes bump stocks. Plaintiffs have demonstrated no

 likelihood of success on the merits.

          Plaintiffs first challenge the agency’s interpretation of “single function of the

 trigger.” But the agency’s longstanding interpretation of that term as a “single pull of

 the trigger” for firearms with a standard pull trigger is the best reading in light of the

 plain text of the statute, the legislative history surrounding its enactment, and the

 decisions of courts interpreting the National Firearms Act. In contrast to the agency’s

 interpretation, plaintiffs’ interpretation is underinclusive, fixating on the mechanics of

 a trigger function that is not found in every machine gun at the time of the statute or

 now. Recognizing the wide variety of machine guns, the Congress that enacted the

 National Firearms Act used the broader term “function” of the trigger in order to

 capture the pull of a trigger for the most common triggers and to include differing

 functions.

          The agency’s interpretation of “automatically” also represents the best reading

 of the statute. A bump stock allows the user to automatically—meaning by “a self-

 acting or self-regulating mechanism,’” 83 Fed. Reg. at 66,519—fire multiple shots
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 with one pull of a trigger. Plaintiffs’ contrary reading of the term “automatically”

 collapses entirely into their understanding of “single function of the trigger,” thereby

 reading the term out of the statutory definition. And equally meritless is plaintiffs’

 contention that “automatically” means that a user is not permitted to engage in any

 activities as part of the automatic process. As the district court correctly recognized,

 this flies in the face of the ordinary definition of “automatically.”

        Plaintiffs’ additional arguments similarly miss the mark. Plaintiffs’ objection to

 Chevron deference fails to advance their claim: this Court’s review is de novo, the Rule

 properly interprets the statute, and the government has not relied on Chevron

 deference. Plaintiffs’ assertion—not advanced in the district court—that the Rule

 constitutes impermissible retroactive rulemaking likewise ignores that the Rule simply

 states the proper interpretation of the statute. Finally, the agency did not violate the

 APA by failing to respond to comments regarding the reliance interests of bump

 stock owners. No amount of reliance interest could make lawful a prohibited

 machine gun.

        Plaintiffs’ challenges to the authority of then-Acting Attorney General

 Whitaker to promulgate the Rule are likewise misconceived. As a statutory matter, the

 Federal Vacancies Reform Act expressly authorizes the President to designate senior

 agency employees to fill any vacant Senate-confirmed office in the agency, including

 the office of the agency head. Contrary to plaintiffs’ argument, the office-specific

 statute that establishes an order of succession for the Attorney General’s office does
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 not divest the President of his authority under the FVRA. The FVRA itself prescribes

 the relationship between the two statutes, providing not that an office-specific

 succession statute renders the FVRA’s procedures inapplicable, but merely that they

 are not “exclusive.” The district court correctly found that the text, structure, and

 legislative history of the FVRA all foreclose plaintiffs’ theory that the President is

 powerless to designate an Acting Attorney General under the FVRA until and unless

 the order of succession in the office-specific statute has been exhausted.

        Plaintiffs argue that the designation of Mr. Whitaker raises substantial

 constitutional questions under the Appointments Clause and that the Court should

 adopt their exhaustion interpretation in order to avoid those questions. But the text

 of the FVRA leaves no room for plaintiffs’ interpretation, and even if it did, that

 interpretation would not actually avoid their asserted constitutional concerns with the

 FVRA, which in any event are insubstantial. Plaintiffs have abandoned their

 argument that only Senate-confirmed officers or first assistants may serve as acting

 principal officers, and their remaining argument that the President may not designate

 a federal employee to serve is baseless.

        In any event, acting out of an abundance of caution, Attorney General Barr has

 now ratified the Rule. This Court’s precedents make clear that ratification of allegedly

 unauthorized agency action by an official who has the authority to take the action

 cures any deficiency in the original authority. For that reason, plaintiffs can no longer


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 prevail even if their challenges to Mr. Whitaker’s authority had merit, and this Court

 therefore should dispose of this appeal without resolving those challenges.

                              STANDARD OF REVIEW

       This Court reviews questions of law underlying a district court’s denial of a

 preliminary injunction motion de novo. See City of Las Vegas v. Lujan, 891 F.2d 927,

 931 (D.C. Cir. 1989).

                                     ARGUMENT

 I.    The Rule Adopts The Plain Meaning Of The Terms “Single
       Function of the Trigger” And “Automatically” And Correctly
       Concludes That Bump Stocks Meet The Definition Of
       “Machinegun”

       Federal law bans the possession and transfer of “machineguns,” 18 U.S.C.

 § 922(o), defined in the National Firearms Act as “any weapon which shoots, is

 designed to shoot, or can be readily restored to shoot, automatically more than one

 shot, without manual reloading, by a single function of the trigger.” 26 U.S.C.

 § 5845(b). The definition also includes “any part designed and intended solely and

 exclusively . . . for use in converting a weapon into a machinegun, and any

 combination of parts from which a machinegun can be assembled if such parts are in

 the possession or under the control of a person.” Id.

        A bump stock is an apparatus used to replace the standard stock on an

 ordinary semiautomatic firearm that is designed “for the express purpose of allowing

 ‘rapid fire’ operation of the semiautomatic firearm to which [it is] affixed,” 83 Fed.


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 Reg. at 66,518, and converts an ordinary semiautomatic rifle into a weapon capable of

 firing hundreds of bullets per minute with a single pull of the trigger. Unlike a regular

 stock, a bump stock channels the recoil from the first shot into a defined path,

 allowing the contained weapon to slide back a short distance—approximately an inch

 and a half—and shifting the trigger away from the shooter’s trigger finger. 83 Fed.

 Reg. at 66,532. This separation allows the firing mechanism to reset. Id. When the

 shooter maintains constant forward pressure on the weapon’s barrel-shroud or fore-

 grip, the weapon slides back along the bump stock, causing the trigger to “bump” the

 shooter’s stationary finger and fire another bullet. Id. Each successive shot generates

 its own recoil, which in turn causes the weapon to slide along the bump stock in

 conjunction with forward pressure, returning to “bump” the shooter’s trigger finger

 each time, initiating another cycle in turn. To assist the shooter in holding a stationary

 position with the trigger finger and sustain the firing process, bump stocks are fitted

 with an “extension ledge.” Id. at 66,516, 66,532. The shooter maintains constant

 rearward pressure on the extension ledge, ensuring that the trigger finger is positioned

 to be “bumped” with each successive cycle. Id. at 66,532. This continuous cycle of

 fire-recoil-bump-fire lasts until the shooter releases the trigger, the weapon

 malfunctions, or the ammunition is exhausted. Id. at 66,518.

       Although the parties agree on the basic mechanical functioning of a bump

 stock, they disagree on whether a bump stock converts a semiautomatic firearm into a

 “machinegun” by enabling a shooter to initiate and maintain a continuous process
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 that “automatically” fires hundreds of rounds per minute by a “single function of the

 trigger.” 26 U.S.C. § 5845(b).

        It does. When Congress enacted the National Firearms Act, it described the

 Act as including “the usual definition of machine gun as a weapon designed to shoot

 more than one shot without reloading and by a single pull of the trigger.” H.R. Rep.

 No. 73-1780, at 2 (1934). Consistent with this understanding, ATF has recognized

 since 2006 that the statutory phrase “single function of the trigger” is most naturally

 read to mean a “single pull of the trigger,” at least where a weapon is equipped with a

 standard trigger. See Add. 3. And after a shooter used AR-15 semiautomatic rifles

 equipped with bump stocks to rapidly fire hundreds of bullets into a crowd of

 concertgoers in Las Vegas, Nevada, killing fifty people and wounding hundreds more,

 see JA 18, 25, DOJ revisited its previously inconsistent definitions of “automatically”

 and determined that the best reading of that term includes a device which allows a

 single function of the trigger to initiate a self-regulating cycle of continuous fire.

        Because the Rule provides the correct reading of the terms “automatically” and

 “single function of the trigger,” plaintiffs have no likelihood of success on their

 claims, and the district court’s order denying a preliminary injunction should be

 affirmed.




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        A.     A “Single Function of the Trigger” Is a “Single Pull of the
               Trigger” for a Weapon Equipped With a Standard Trigger
        1. a. For over a decade, ATF has recognized that the phrase “single function

 of the trigger” means a “single pull of the trigger” for a weapon equipped with a

 standard trigger. See 83 Fed. Reg. at 66,517; Add. 2-4. The function of a trigger is “to

 initiate the firing sequence” of a weapon. United States v. Jokel, 969 F.2d 132, 135 (5th

 Cir. 1992) (per curiam). Read in its full context, the phrase “‘by a single function of

 the trigger’ describes the action that enables the weapon to ‘shoot . . . automatically

 . . . without manual reloading,’ not the ‘trigger’ mechanism.” United States v. Evans, 978

 F.2d 1112, 1113 n.2 (9th Cir. 1992); accord United States v. Olofson, 563 F.3d 652, 658

 (7th Cir. 2009) (noting that “a single function of the trigger” “set[s] in motion” the

 automatic firing of more than one shot); United States v. Carter, 465 F.3d 658, 664-65

 (6th Cir. 2006). With a normal trigger, the “action” that initiates this process is the

 shooter’s pull on the trigger. On a standard semiautomatic weapon, that single pull

 results in the firing of a single shot. For a subsequent shot, the shooter must release

 his pull on the trigger so that the hammer can reset. But on a fully automatic

 weapon—and on a weapon equipped with a bump stock—that same pull of the

 trigger initiates a continuous process that fires bullets until the trigger is released or

 ammunition is exhausted, without requiring that the shooter release his pull. Once

 the trigger has performed its function of initiating the firing sequence, the weapon




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 fires “automatically more than one shot, without manual reloading,” 26 U.S.C.

 § 5845(b), until the shooter releases the trigger.

        Because not all firearms use a traditional pull trigger, Congress in the National

 Firearms Act and DOJ in the Rule used language designed to capture the full range of

 possible trigger devices. By employing the term “single function of the trigger,”

 Congress ensured that it could cover weapons that use triggers activated by pushing a

 paddle, pressing a button, flipping a switch, or otherwise initiating the firing sequence

 without pulling a traditional trigger. See, e.g., United States v. Fleischli, 305 F.3d 643, 655-

 56 (7th Cir. 2002) (holding that a minigun fired by “an electronic switch” was a

 machine gun). Indeed, at the time of the enactment of the National Firearms Act,

 many machine guns used push triggers to fire. See 83 Fed. Reg. at 66,519 n.5 (listing

 examples of machine guns that “operate through a trigger activated by a push,”

 including Maxim and Vickers machine guns). By focusing on whether the shooter’s

 “single function of the trigger” initiates an automatic process that discharges multiple

 bullets, Congress ensured that individuals could not “avoid the [National Firearms

 Act] simply by using weapons that employ a button or switch mechanism for firing.”

 Evans, 978 F.2d at 1113 n.2. For the same reasons, the Rule states that a “single

 function of the trigger” encompasses “a single pull of the trigger and analogous

 motions,” 83 Fed. Reg. at 66,533, recognizing “that there are other methods of

 initiating an automatic firing sequence that do not require a pull,” id. at 66,515; accord

 id. at 66,534.
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       b. Legislative history confirms that the Congress that enacted the National

 Firearms Act understood that in the normal course, a machine gun would be fired by

 a traditional pull trigger, and that for such weapons, a “single function of the trigger”

 equated to the shooter’s single pull of the trigger. In explaining the definition of

 “machinegun” in the bill that ultimately became the National Firearms Act, see H.R.

 9741, 73rd Cong. (1934), the House Committee on Ways and Means report stated that

 bill “contains the usual definition of machine gun as a weapon designed to shoot

 more than one shot without reloading and by a single pull of the trigger.” H.R. Rep. No.

 73-1780, at 2 (emphasis added); see S. Rep. No. 73-1444 (1934) (reprinting House’s

 “detailed explanation” of the provisions, including the quoted language).

       This understanding was also reflected in testimony Congress heard before

 enacting the legislation. A month before the bill that ultimately became the National

 Firearms Act was introduced, the House held hearings on an earlier version of the

 legislation. That version proposed a definition of “machine gun” that turned on the

 number of shots that a weapon could fire automatically. See JA 107. The then-

 president of the National Rifle Association objected in his testimony to this “wholly

 inadequate and unsatisfactory” definition, JA 144, and proposed defining a machine

 gun as a weapon “which shoots automatically more than one shot without manual

 reloading, by a single function of the trigger,” JA 145. Explaining this proposal, he

 stated that “[t]he distinguishing feature of a machine gun is that by a single pull of the

 trigger the gun continues to fire as long as there is any ammunition.” Id. Thus, he
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 continued, any weapon “which is capable of firing more than one shot by a single pull

 of the trigger, a single function of the trigger, is properly regarded, in my opinion, as a

 machine gun,” while “[o]ther guns [that] require a separate pull of the trigger for every

 shot fired . . . are not properly designated as machine guns.” Id.

        c. Subsequent judicial interpretations of the phrase “single function of the

 trigger” further confirm that, when a standard trigger is involved, the ordinary

 meaning of the phrase looks to the shooter’s action in pulling the trigger. The

 Supreme Court has observed that the National Firearms Act treats a weapon that

 “fires repeatedly with a single pull of the trigger” as a machine gun, in contrast to “a

 weapon that fires only one shot with each pull of the trigger.” Staples v. United States,

 511 U.S. 600, 602 n.1 (1994). Similarly, the Tenth Circuit recognized that a weapon

 qualified as a machine gun where it could be fired automatically “by fully pulling the

 trigger.” United States v. Oakes, 564 F.2d 384, 388 (10th Cir. 1977). And the Fifth

 Circuit held that a modified rifle was a machine gun because it “required only one

 action—pulling the switch [the defendant] installed—to fire multiple shots” instead of

 requiring the shooter “to separately pull . . . each time the weapon is fired.” United

 States v. Camp, 343 F.3d 743, 745 (5th Cir. 2003). The court held that § 5845(b)

 “expressly contemplate[s]” this distinction by focusing on “a single function of the

 trigger.” Id. (emphasis in original).

        d. The same understanding of “single function of the trigger” informed ATF’s

 reclassification of the “Akins Accelerator” in 2006. Like the bump stocks at issue
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 here, the Akins Accelerator enabled the weapon to recoil within the stock, “permitting

 the trigger to lose contact with the finger and manually reset. Springs in the Akins

 Accelerator then forced the rifle forward, forcing the trigger against the finger” in a

 back-and-forth cycle that enabled continuous firing. 83 Fed. Reg. at 66,517. The

 Akins Accelerator “was advertised as able to fire approximately 650 rounds per

 minute.” Id.

        After reviewing the device “based on how it actually functioned when sold,”

 ATF corrected its erroneous earlier decision classifying the device as not a machine

 gun. In doing so, it relied in part on the legislative history of the National Firearms

 Act to conclude “that the phrase ‘single function of the trigger’ . . . was best

 interpreted to mean a ‘single pull of the trigger.’” 83 Fed. Reg. at 66,517; see Add. 2-4.

 The agency concluded that installing the Akins Accelerator on a semiautomatic rifle

 “resulted in a weapon that ‘[w]ith a single pull of the trigger initiates an automatic

 firing cycle that continues until the finger is released, the weapon malfunctions, or the

 ammunition supply is exhausted.’” 83 Fed. Reg. at 66,517 (quoting Akins v. United

 States, No. 8:08-cv-988, slip op. at 5 (M.D. Fla. Sept. 23, 2008)). In rejecting a

 subsequent challenge by the inventor of the Akins Accelerator to ATF’s

 reclassification of the device, the Eleventh Circuit held that interpreting “single

 function of the trigger” as “‘single pull of the trigger’ is consonant with the statute and

 its legislative history.” Akins v. United States, 312 F. App’x 197, 200 (11th Cir. 2009)

 (per curiam). And on multiple occasions since 2006, ATF has applied its “single pull
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 of the trigger” interpretation to bump-stock-type devices, and on other occasions to

 “other trigger actuators, two-stage triggers, and other devices.” 83 Fed. Reg. at

 66,517; see id. 66,518 n.4 (listing examples of other ATF classifications using the

 definition).

        2. Plaintiffs largely ignore the ordinary meaning of the term “single function of

 the trigger,” 26 U.S.C. § 5845(b), and the interpretation of that language by Congress,

 the courts, and ATF. Without citation, they chiefly insist that only “the mechanical

 operation of the ‘trigger’” matters, not “the mechanism by which the shooter acts to

 move the trigger,” such that the “function of the trigger is to release the hammer in

 response to an external or manual input.” Guedes Br. 12. On plaintiffs’ definition, a

 “single function of the trigger” is thus a single “release [of] the hammer in response to

 an external or manual input.” Id. Moreover, plaintiffs contend, each time the trigger

 releases, “uncoupl[ing] the disconnector from the hammer,” a second, separate

 function occurs. Id.; accord id. 15-16.

        This cramped definition defies statutory text and common sense. Plaintiffs’

 theory is that no aftermarket device could ever convert an AR-15 or similar

 semiautomatic rifle into a “machinegun,” because no matter what work the device

 performs, a separate release of the hammer by the trigger must occur for each shot

 fired. A rifle equipped with the Akins Accelerator, for example, would no longer

 qualify as a machine gun, despite the Eleventh Circuit’s contrary ruling. Akins, 312 F.

 App’x at 200. And even a device that mechanically and automatically pulled and
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 released the trigger on an AR-15 rifle on the shooter’s behalf at the flip of a switch

 would not qualify as a machine gun, because each bullet fired required a distinct

 “function of the trigger” to release the hammer. That the shooter produces a

 continuous firing cycle by taking only one step—flipping the switch—is entirely

 irrelevant under plaintiffs’ theory.

        “Function” is therefore not constrained to the precise mechanical operation of

 a specific type of trigger. On the contrary, given the range of possible trigger

 mechanisms and devices, the broad term “function” ensures that ingenious

 individuals cannot engineer around the restrictions of the National Firearms Act

 “simply by using weapons that employ a button or switch mechanism for firing.”

 Fleischli, 305 F.3d at 655 (quoting Evans, 978 F.2d at 1113 n.2). Nor are such concerns

 hypothetical. As the Rule notes, ATF has applied the “single pull of the trigger”

 understanding to a host of devices that assist shooters in creating and sustaining a

 continuous firing cycle. 83 Fed. Reg. at 66,517-18. For example, in 2016, ATF

 classified “LV-15 Trigger Reset Devices” as machine gun parts. Id. at 66,518 n.4; see

 Add. 11-21. These devices attached to an AR-15 rifle and used a battery-operated

 “piston that projected through the lower rear portion of the trigger guard” to push the

 trigger forward, enabling the shooter to pull the trigger once and “initiate and

 maintain a firing sequence” by continuing the pressure while the piston rapidly reset

 the trigger. 83 Fed. Reg. at 66,518 n.4. ATF took the same approach to another

 device—a “positive reset trigger”—that used the recoil energy of each shot to push
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 the shooter’s trigger finger forward. See id.; Add. 5-10. Yet another example is the

 “AutoGlove,” a glove with a battery-operated piston attached to the index finger that

 pulled and released the trigger on the shooter’s behalf when the shooter held down a

 plunger to activate the motor. Add. 22-28. Under plaintiffs’ definition, such devices

 would not qualify as machine guns despite operating, from the user’s perspective,

 identically to a fully automatic weapon and producing the same results.

        Plaintiffs provide no support, textual or otherwise, for their attempt to read out

 of the statute the shooter’s act of pulling the trigger. They rely on a single page of

 legislative history, see Guedes Br. at 13, but that page—reporting a discussion between

 Representative Hill and then-Assistant Attorney General Joseph Keenan about the

 definition of machine gun—underscores that the defining characteristic of a machine

 gun is that it fires “without pulling the trigger more than once.” JA 202; see also id.

 (distinguishing other guns where “you have to pull the trigger each time to fire them”

 and “they do not automatically fire again unless you pull the trigger”). And the cases

 plaintiffs cite likewise reflect this basic understanding. See Staples, 511 U.S. at 602 n.1

 (contrasting a machine gun, which “fires repeatedly with a single pull of the trigger,”

 with “a weapon that fires only one shot with each pull of the trigger”); Kolbe v. Hogan,

 849 F.3d 114, 158 (4th Cir. 2017) (Traxler, J., dissenting) (noting that machine guns

 “do not require a pull of the trigger for each shot” while “semiautomatic firearms

 require that the shooter pull the trigger for each shot fired”); Hollis v. Lynch, 827 F.3d

 436, 440 n.2 (5th Cir. 2016) (noting that machine guns fire “more than one round per
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 trigger-action” while semi-automatic weapons do not, without defining “trigger-

 action”).

        Plaintiffs point to ATF’s decision not to classify binary triggers as machine gun

 parts to argue that the Rule’s definition is not workable (Guedes Br. 14; Codrea Br.

 15-16), but this argument only underscores plaintiffs’ fundamental misunderstanding

 of the term “single function of the trigger.” A binary trigger fires one round when the

 shooter pulls the trigger and another when the shooter releases the trigger. The

 Rule—like the National Firearms Act—recognizes that a trigger may “function” by a

 means other than a pull, such as a push or a release. 83 Fed. Reg. 66,515, 66,534-35.

 And as DOJ explained in the Rule, a binary trigger requires two separate functions of

 the trigger by the shooter to fire each shot: the shooter’s pull of the trigger, followed

 by the shooter’s release. 83 Fed. Reg. at 66,534. By contrast, a bump stock involves

 only a single function of the trigger by the shooter—the initial pull—“to create an

 automatic firing sequence.” Id.

        B.     A Rifle Equipped With a Bump Stock Fires “Automatically”
               Because it Fires “As the Result of a Self-Acting or Self-
               Regulating Mechanism”

        1. The Rule gives the term “automatically” its ordinary meaning. As the Rule

 explains, “‘automatically’ is the adverbial form of ‘automatic,’ meaning ‘[h]aving a self-

 acting or self-regulating mechanism that performs a required act at a predetermined

 point in an operation.’” 83 Fed. Reg. at 66,519 (quoting Webster’s New International

 Dictionary 187 (2d ed. 1934); citing 1 Oxford English Dictionary 574 (1933) (defining
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 “automatic” as “[s]elf-acting under conditions fixed for it, going of itself.”)). And the

 Rule straightforwardly adopts this definition, stating that a weapon fires

 “automatically” when it fires “as the result of a self-acting or self-regulating

 mechanism that allows the firing of multiple rounds.” 83 Fed. Reg. at 66,554; see

 Olofson, 563 F.3d at 658 (“automatically” in § 5845(b) means “as the result of a self-

 acting mechanism”). As the district court held, the Rule’s definition of

 “automatically” “correctly” defines the term and is “[c]onsistent with these

 contemporaneous dictionary definitions and the Seventh Circuit’s decision in Olofson.”

 JA 38-39.

        As the Rule explains, a rifle equipped with a bump stock fits comfortably

 within the ordinary meaning of “automatically.” The bump stock “performs a

 required act at a predetermined point” in the firing sequence by “directing the recoil

 energy of the discharged rounds into the space created by the sliding stock,” ensuring

 that the rifle moves in a “constrained linear rearward and forward path[]” to enable

 continuous fire. 83 Fed. Reg. at 66,532. This process is also “[s]elf-acting under

 conditions fixed for it.” The shooter’s maintenance of continuous pressure on the

 extension ledge with the trigger finger and on the barrel-shroud or fore-stock with the

 other hand provide the conditions necessary for the bump stock to repeatedly

 perform its basic purpose: “to eliminate the need for the shooter to manually capture,

 harness, or otherwise utilize th[e] [recoil] energy to fire additional rounds.” Id. at

 66,532.
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       2. In arguing that DOJ’s interpretation of “automatically” is erroneous,

 plaintiffs fail to engage with the dictionary definitions and other sources relied on by

 the Rule, the Seventh Circuit in Olofson, and the district court. JA 39. Instead,

 plaintiffs assert that the term “automatically” means “without further manual or

 volitional input by the shooter beyond maintaining the trigger in the depressed or

 rearward position,” and that an “‘automatic[]’ discharge necessarily must occur before

 or without a second function of the trigger.” Guedes Br. 15; accord Codrea Br. 14.

 But under this reading, the term “automatically” serves no purpose in the statute: the

 only relevant question would be whether a gun fires “more than one shot” by “a

 single function of the trigger”—on plaintiffs’ view, a single “release [of] the hammer

 in response to an external or manual input.” Guedes Br. 12. By conflating

 “automatically” with their erroneous definition of “single function of the trigger,”

 plaintiffs render “automatically” superfluous. See New York v. EPA, 443 F.3d 880, 885

 (D.C. Cir. 2006) (“[C]ourts must give effect to each word of a statute.”).

       Plaintiffs’ reading is also inconsistent with the plain meaning of

 “automatically.” They insist that firing with a bump stock cannot be done

 “automatically” because it necessarily involves a “manual volitional act [by] the

 shooter,” (Guedes Br. 15-16) or “multiple human manual inputs,” (Codrea Br. 14), in

 the form of the shooter’s continued pressure on the weapon’s barrel-shroud or fore-

 stock. But as the district court observed, a device need not “operate spontaneously

 without any manual input” to properly be described as operating “automatically.” JA
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 41. Rather, a device is ordinarily described as operating “automatically” where it

 “perform[s] parts of the work formerly or usually done by hand” or “produce[s]

 results otherwise done by hand.” JA 38 (quoting Webster’s New International Dictionary

 (1933) and 1 Oxford English Dictionary (1933), respectively). And this understanding is

 reflected in ordinary usage: “[a]n automatic sewing machine, for example, still requires

 the user to press a pedal and direct the fabric.” JA 39. Because a bump stock

 performs “two tasks the shooter would ordinarily have to perform manually”—

 “control[ing] the distance the firearm recoils and ensur[ing] that the firearm moves

 linearly”—a bump stock allows for an automatic continuous firing cycle. JA 41.

        Plaintiffs’ failure to grapple with the plain meaning of “automatically” is also

 reflected in their assertion that the Rule renders all semiautomatic rifles illegal because

 a shooter can “bump-fire[]” those weapons “with or without a bump-stock-type

 device.” Guedes Br. 18. Bump fire with a bump stock occurs “automatically”

 because the bump stock relieves the shooter of much of the manual effort that would

 otherwise be required; that a shooter could produce similar results manually, without

 assistance, is irrelevant to that conclusion. Indeed, the entire purpose of the bump

 stock is that it “make[s] rapid fire easier” by reducing the effort required to bump fire.

 83 Fed. Reg. at 66,533.

        For similar reasons, plaintiffs are wrong to suggest that the Rule converts

 “common household items” into parts of a machine gun. Guedes Br. 18. As the Rule

 explains, “[a]n item like a belt loop is not a ‘self-acting or self-regulating mechanism’”
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 because “[w]hen such items are used for bump firing, no device is present to capture

 and direct the recoil energy; rather, the shooter must do so.” 83 Fed. Reg. at 66,533.

 Thus, a shooter must manually “harness the recoil energy” and “control the distance

 that the firearm recoils and the movement along the plane on which the firearm

 recoils.” Id.

        Finally, plaintiffs’ reliance on ATF’s erroneous past interpretations (Guedes Br.

 17) fails to advance their claim. ATF’s prior interpretations cannot change the plain

 meaning of the statutory term “automatically.” That ATF previously applied an

 incorrect interpretation of the term “automatically” in classifying bump-stock-type

 devices is why the Department promulgated the Rule to give notice to the public, JA

 38, and provide guidance to ensure consistent future classifications.

        C.       Plaintiffs’ Remaining Arguments Are Without Merit

        1. Plaintiffs’ contention that the district court abused its discretion in denying

 their motion for preliminary relief because it applied an “incorrect legal analysis” fails

 to advance their claim. Codrea Br. 8. Although the district court in this context

 should not have afforded the agency deference under Chevron v. Natural Resources

 Defense Council, Inc., 467 U.S. 837 (1984), that provides no basis for reversing the

 district court’s denial of a preliminary injunction.

        As plaintiffs observe (Codrea Br. 9), the government did not contend in district

 court—nor does it contend on appeal—that the agency is entitled to Chevron

 deference for its interpretation of the terms “single function of the trigger” and
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 “automatically” in a criminal statute. See also 83 Fed. Reg. at 66,527 (explaining that

 DOJ’s interpretation “accord[s] with the plain meaning of [the statutory] terms”).

 And the district court’s decision to apply such deference poses no barrier to affirming

 the decision below. On appeal of district court decisions reviewing agency action

 under the APA, this Court engages in de novo review. See Rempfer v. Sharfstein, 583

 F.3d 860, 864–65 (D.C. Cir. 2009). This Court may thus determine whether plaintiffs

 have demonstrated a likelihood of success on the merits of their statutory claim

 without regard to the district court’s application of Chevron deference. And for the

 reasons explained supra pp. 21-36, the agency’s interpretation of the statute is the best

 reading.

       Just as Chevron plays no role in this case, the rule of lenity (Guedes Br. 20-22)

 has no bearing here. The rule of lenity applies only if, “after considering text,

 structure, history, and purpose, there remains a grievous ambiguity or uncertainty in

 the statute such that the Court must simply guess as to what Congress intended.”

 Maracich v. Spears, 570 U.S. 48, 76 (2013). Again, DOJ’s interpretation of the terms

 used to define “machinegun” in the National Firearms Act is correct, and there is no

 ambiguity, let alone grievous ambiguity, in the statute. Indeed, plaintiffs’ position

 appears to be that because they view bump stocks as borderline examples of

 “machineguns,” they should be permitted to own bump stocks, even if those devices

 technically fall within the statutory definition. But, as the Supreme Court has

 explained, “[t]he rule [of lenity] comes into operation at the end of the process of
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 construing what Congress has expressed, not at the beginning as an overriding

 consideration of being lenient to wrongdoers.” Maracich, 570 U.S. at 76 (alteration in

 original) (quoting Callanan v. United States, 364 U.S. 587, 596 (1961)).

        2. Advancing an argument that is both meritless and forfeited, plaintiffs also

 urge that DOJ’s interpretation of the definition of “machine gun” in the National

 Firearms Act violates the Ex Post Facto Clause and is an act of retroactive

 rulemaking. Codrea Br. 16.

        In their briefs below, the plaintiffs did not raise any argument regarding the

 purportedly retroactive nature of the agency’s rule. See No. 18-3086 (D.D.C.), Dkt.

 No. 5, Dkt. No. 18. Any such argument is therefore forfeited. Zevallos v. Obama, 793

 F.3d 106, 114 (D.C. Cir. 2015). And even if the argument were not forfeited, it

 reveals a fundamental misunderstanding of the nature of the Rule. The Rule is not an

 act of legislative rulemaking, but rather sets forth the agency’s interpretation of the

 best reading of the definition of “machinegun” in the National Firearms Act.

 Plaintiffs have sought judicial review of this interpretation, arguing that it conflicts

 with the statute because “Congress has not made these devices illegal.” Codrea Br.

 18. That is precisely the question this Court will decide in determining whether

 plaintiffs are likely to succeed on the merits of their claim.

        Although plaintiffs recognize that “[u]nder ATF’s reasoning, any bump stock

 made after 1986 has always been a machinegun and thus has always been banned,”

 Codrea Br. 17, they do not grapple with the significance of that fact. If this Court
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 accepts the agency’s position, as it should, and agrees that the statute is best read to

 prohibit bump stocks, this will not represent a change in the law, but will be “an

 authoritative statement of what the statute meant before as well as after the decision.”

 Rivers v. Roadway Express, 511 U.S. 298, 312-13 (1994). It is therefore not the case that

 the Rule “makes an action, done before [the Rule], and which was innocent when

 done, criminal.” Calder v. Bull, 3 U.S. 386, 390 (1798). Rather, the purpose of the

 rulemaking is “to notify the public about changes in ATF’s interpretation of the

 [National Firearms Act] and [Gun Control Act] and to help the public avoid the

 unlawful possession of a machinegun.” 83 Fed. Reg. at 66,523.

        Moreover, plaintiffs’ objection is particularly meritless where the Rule will have

 practical effect only with respect to individuals who retain their bump stocks (or buy

 and sell bump stocks) after the Rule’s effective date. As plaintiffs recognize (Codrea

 Br. 18), DOJ stated in the Rule that it would not pursue enforcement action against

 individuals who sold or possessed bump stocks prior to the effective date of the Rule.

 83 Fed. Reg. at 66,523; see American Library Ass’n v. Barr, 956 F.2d 1178, 1198 (D.C.

 Cir. 1992) (finding no credible threat of prosecution and explaining that “it would be

 nothing but speculation to suppose that the Department of Justice will change its

 position in the foreseeable future”).

        3. Nor does it advance plaintiffs’ claim to contend that DOJ failed to respond

 to comments submitted during the rulemaking regarding reliance interests or other

 similar factors. Codrea Br. 19-20. An agency is not required to respond to all
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 comments, but rather must respond to comments that are “relevant to the agency’s

 decision and which, if adopted, would require a change in an agency’s proposed rule

 [because they] cast doubt on the reasonableness of a position taken by the agency.”

 Home Box Office, Inc. v. FCC, 567 F.2d 9, 35 n.58 (D.C. Cir. 1977); see also National

 Mining Ass’n v. Mine Safety & Health Admin., 116 F.3d 520, 549 (D.C. Cir. 1997) (per

 curiam) (not requiring a substantive response where comments were beyond the

 scope of the rulemaking). Here, as explained, the Rule addresses the purely legal

 question whether the statute itself properly read prohibits bump-stock-type devices.

 See supra pp. 21-36; see also JA 35-36 (explaining that the question before the district

 court was whether the agency had contravened the controlling statute). In answering

 that question, there was no need to address purported “reliance interests,” because no

 amount of reliance interest could change whether these devices are machine guns

 prohibited by statute. In all events, DOJ plainly was aware of the monetary interests

 at stake. See 83 Fed. Reg. at 66,537.

 II.    The Rule Has Been Validly Promulgated By The Acting Attorney
        General And Validly Ratified By The Attorney General

        The district court correctly held that Acting Attorney General Whitaker had the

 authority to issue the Rule. The Federal Vacancies Reform Act expressly authorized

 the President to designate Mr. Whitaker as Acting Attorney General, and nothing in

 28 U.S.C. § 508 or the Appointments Clause even arguably precluded that choice. See

 JA 50-81. Moreover, Attorney General Barr was confirmed and appointed shortly

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 before the district court issued its decision, and he has since ratified the Rule. This

 Court’s precedents make clear that ratification of the Rule by Attorney General Barr

 obviates any challenge to Mr. Whitaker’s authority to promulgate the Rule, and this

 Court therefore should affirm the rejection of plaintiffs’ claims on that ground alone.

       A.     The FVRA Authorized the President to Designate Mr.
              Whitaker to Serve as Acting Attorney General

              1.     The FVRA’s plain text applies to the Attorney
                     General’s vacancy.

       The FVRA authorizes the President to fill a vacancy in a covered Senate-

 confirmed position by designating, among other individuals, a senior “officer or

 employee” within the same agency “to perform the functions and duties of the vacant

 office.” 5 U.S.C. § 3345(a)(3). To be eligible for designation, the officer or employee

 must have been in the agency for at least ninety days in the 365-day period preceding

 the resignation, in a position for which the rate of pay is equal to or greater than the

 minimum rate for GS-15 of the General Schedule, and he or she may not serve in an

 acting capacity if nominated by the President to fill the vacancy on a permanent basis.

 See id. §§ 3345(a)(3), 3345(b)(1); NLRB v. SW General, Inc., 137 S. Ct. 929 (2017).

       The FVRA on its face applies to vacancies in the office of Attorney General.

 The positions covered by the FVRA generally include Senate-confirmed offices at all

 “Executive agenc[ies],” 5 U.S.C. § 3345(a), which includes the Department of Justice,

 see id. §§ 101, 105. Moreover, the FVRA expressly contemplates that a vacant office

 may be the office of the agency head. For example, it distinguishes between agency
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 heads and non-agency heads with respect to the consequences of expiration of the

 statutory time limits, see id. § 3348(b), but creates no such distinction for purposes of

 the applicability of the designation methods in section 3345. Where Congress

 intended to exclude an office in an Executive agency from the FVRA’s scope, it said

 so expressly, identifying specific offices in particular agencies to which the FVRA

 “shall not apply.” Id. § 3349c. The office of Attorney General is not among those

 excluded offices. Congress also identified particular offices as to which specific

 provisions of the FVRA are inapplicable. See id. § 3348(e). The office of Attorney

 General is likewise not subject to any such more limited statutory exclusion.

        The FVRA contrasts significantly in this regard with the prior terms of the

 Vacancies Act. The Vacancies Act expressly excluded the office of Attorney General

 from the President’s authority to fill vacant offices with persons other than the

 office’s first assistant. See 5 U.S.C. § 3347 (1994) (“This section does not apply to a

 vacancy in the office of Attorney General”). But the FVRA eliminated that exclusion

 altogether, while retaining 28 U.S.C. § 508’s specification that the Deputy Attorney

 General is the “first assistant” under § 3345, the operative FVRA section here.

        Plaintiffs object that, in enacting the FVRA, Congress could not have intended

 to give the President the power to fill the vacant office of an agency head with a

 senior employee within that agency. FPC Br. 18-19. But for the reasons discussed

 above, this objection is belied by the text and structure of the FVRA, which expressly

 and unambiguously provide that power. Moreover, the objection is inconsistent with
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 plaintiffs’ own position. As detailed below, they argue only that the FVRA is

 displaced if there is an office-specific vacancy statute designating an acting official and

 the individual designated is available to serve. But there are cabinet departments that

 do not have office-specific succession provisions at all (e.g., 22 U.S.C. § 2651a(a)

 (Department of State)) and other cabinet departments that will often have no acting

 designee available because only a single individual is designated (e.g., 29 U.S.C. § 552

 (Department of Labor)). Accordingly, the FVRA indisputably authorizes senior

 agency employees to serve as acting agency heads in at least some circumstances. And

 we next demonstrate that those circumstances include a vacancy in the Office of

 Attorney General even where the Deputy Attorney General is otherwise available to

 serve.

                2.     The President’s authority under the FVRA is not
                       displaced by 28 U.S.C. § 508.

          Plaintiffs contend that the President’s authority under the FVRA to designate

 persons to serve as Acting Attorney General is displaced by 28 U.S.C. § 508. That

 statute, which long predated the FVRA’s enactment, provides that when there is “a

 vacancy in the office of Attorney General . . . the Deputy Attorney General may

 exercise all the duties of that office.” 28 U.S.C. § 508(a). It further provides that if

 neither the Attorney General nor the Deputy Attorney General is available, “the

 Associate Attorney General shall act as Attorney General,” and the Attorney General




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 may designate the Solicitor General and the Assistant Attorneys General to act as

 Attorney General in further order of succession. Id. § 508(b).

       According to Plaintiffs, this provision deprives the President of his authority

 under the FVRA to designate someone other than the Deputy Attorney General to

 serve as Acting Attorney General unless the Deputy Attorney General and the

 Associate Attorney General are unavailable, and perhaps unless all of the other

 officials enumerated in § 508 are unavailable as well. FPC Br. 6 & n.1. The district

 court properly rejected that argument.

       a. In enacting the FVRA, Congress recognized the existence of office-specific

 vacancy statutes like § 508. It expressly addressed how these statutes relate to the

 FVRA. As the district court explained, the text and structure of the FVRA make clear

 that Congress intended for the FVRA and office-specific statutes to co-exist and

 complement each other, rather than for office-specific statutes to displace the FVRA.

 JA 52-55.

       By default, the FVRA is the “exclusive means for temporarily authorizing an

 acting official to perform the functions and duties of any office [requiring Senate

 confirmation] of an Executive agency.” 5 U.S.C. § 3347(a) (emphasis added). This

 rule of exclusivity applies “unless” one of the exceptions in § 3347(a) applies. Id.

 One of the specified exceptions is the existence of “a statutory provision [that]

 expressly * * * designates an officer or employee to perform the functions and duties

 of a specified office temporarily in an acting capacity,” such as § 508. Id.
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 § 3347(a)(1)(B). In that case, the FVRA ceases to be “the exclusive means” of filling

 the vacancy. But as the district court explained, the FVRA “remains a means of filling

 the vacancy.” JA 52. In other words, § 3347(a) provides that office-specific statutes

 such as § 508 are exceptions to the FVRA’s generally exclusive applicability, not that

 they supersede or displace the FVRA in whole or in part.

        The structure of the statute reinforces this reading of the statutory text.

 Section 3347’s proviso that the FVRA is not the “exclusive” means of addressing

 vacancies in specified circumstances stands in marked contrast with § 3349c, which

 provides that the FVRA “shall not apply” to specified offices. Had Congress wanted

 to make the FVRA inapplicable to offices for which an office-specific statute

 designated an acting official, it would have listed such statutes in § 3349c, not § 3347.

 Section 3347(a) also stands in contrast with § 3348(e), which provides that specific

 provisions of the FVRA “shall not apply” to specified offices. No offices subject to

 office-specific succession statutes appear in § 3349c, nor are any such offices subject

 to more specific inapplicability provisions like the one found in § 3348(e). At a

 minimum, if Congress had actually meant to provide that the FVRA’s provisions are

 inapplicable, in whole or in part, to offices that are subject to office-specific

 succession statutes, it would have employed parallel language throughout, providing in

 § 3347 that the FVRA “shall not apply” in whole (cf. § 3349c) or in part (cf. § 3348(e))

 where office-specific statutes exist, rather than merely stating that the FVRA is not

 the “exclusive” means of filling vacancies when those statutes exist.
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        Plaintiffs invoke (FPC Br. 17) the interpretive canon that when two statutes

 apply to the same circumstances, the more specific provision prevails over the more

 general one. But that canon is an aid in divining the intended relationship between

 two statutes when Congress itself has not expressly addressed that question. Here, it

 has. The more specific provision does not override the more general one where, as

 here, the general provision addresses the relationship between the two statutes and

 expressly provides that they coexist with each other.

        Indeed, as the district court explained (JA 59-60), the FVRA’s legislative history

 confirms that statutes like § 508 were understood by Congress to work in conjunction

 with—not to displace—the FVRA. The Senate Committee Report accompanying the

 bill that led to the FVRA contained the list of then-existing, office-specific statutes

 “that expressly authorize the President * * * to designate an officer to perform the

 functions and duties of a specified officer temporarily in an acting capacity, * * * [or]

 that expressly provide for the temporary performance of the functions and duties of

 an office by a particular officer or employee.” S. Rep. No. 150-250, at 15, 16-17

 (1998) (Senate Report). The Report stated that the bill “retains” § 508 and the other

 such statutes, id., but that “even with respect to the specific positions in which

 temporary officers may serve under the specific statutes this bill retains, the Vacancies

 Act would continue to provide an alternative procedure for temporarily occupying the

 office.” Id. at 17 (emphasis added).


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        For all these reasons, the Ninth Circuit in Hooks v. Kitsap Tenant Support Services,

 816 F.3d 550 (2016), and the District Court for the District of Columbia in English v.

 Trump, 279 F. Supp. 3d 307 (2018), have both held that office-specific vacancy and

 succession statutes do not preclude the President from exercising his designation

 authority under the FVRA. In the proceedings below, plaintiffs attempted to

 distinguish Hooks and English from this case. The district court properly dismissed

 those efforts (JA 53-54), and plaintiffs do not renew them here.

        b. Given the clarity of the FVRA’s text and structure, plaintiffs concede that

 § 508 and similar office-specific statutes do not displace the FVRA altogether.

 Instead, they argue that when a vacancy is subject to an office-specific succession

 statute, the FVRA does not authorize the President to designate persons to fill the

 vacancy unless no one specified by the office-specific statute is available—in other

 words, unless the statutory line of succession is exhausted.

        As a threshold matter, if the FVRA incorporated plaintiffs’ proposed

 exhaustion rule, that would mean that President George W. Bush acted unlawfully in

 2007 when he designated Assistant Attorney General Peter D. Keisler to serve as

 Acting Attorney General in place of Solicitor General Paul Clement, who was next in

 order of succession under the succession order promulgated by the Attorney General

 pursuant to § 508(b). See Authority of the President to Name an Acting Attorney General, 31

 Op. O.L.C. 208 (2007). Plaintiffs’ theory would also mean—contra the district court

 decision in English—that President Trump acted unlawfully when he designated the
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 Director of the Office of Management and Budget to serve as the Acting Director of

 the Consumer Financial Protection Bureau rather than the Deputy Director.

        More fundamentally, plaintiffs’ proposed exhaustion rule suffers from the fatal

 problem that it has no basis in the FVRA. It does not appear in § 3345(a)(2) and

 § 3345(a)(3), the provisions that authorize the President to designate persons other

 than the first assistant to serve in an acting capacity. Nor does it appear in § 3347(a).

 Again, § 3347(a) provides only that the FVRA is the exclusive means unless an office-

 specific statute exists, not that the FVRA is inapplicable unless an office-specific

 statute is exhausted, or that an office-specific statute is exclusive unless it is exhausted.

        Plaintiffs attempt to manufacture a textual hook for their exhaustion theory by

 suggesting (FPC Br. 9) that when § 3347(a) provides that the FVRA is “the exclusive

 means” for temporarily filling vacant offices “unless” one of the specified exceptions

 applies, “unless” does not modify “exclusive means,” but instead modifies only the

 word “means” in isolation. Thus, plaintiffs argue, when the exceptions in § 3347(a)

 apply, the FVRA is not a “means” of filling the vacancy at all. But that argument fails

 as a grammatical matter. The operative language in § 3347(a) does not say that the

 FVRA is “a means” of filling vacant offices. It says that the FVRA is “the exclusive

 means” of doing so. The “unless” clause necessarily modifies the entire phrase, not

 the noun arbitrarily divorced from the adjective that Congress used to modify the

 noun’s meaning and scope.


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        Tellingly, plaintiffs themselves are unwilling to embrace the implications of

 their proffered reading. If, as plaintiffs suggest, the FVRA “is not a ‘means’ to

 authorize an acting official” when an exception in § 3347(a) applies (FPC Br. 9), then

 a provision like § 508, which “expressly * * * designates an officer or employee to

 perform the functions and duties of a specified office temporarily in an acting

 capacity” (§ 3347(a)(1)(B)), would render the FVRA inapplicable to the office of

 Attorney General altogether. As noted, plaintiffs disclaim that outcome because the

 Attorney General’s office is not contained in the FVRA’s applicability exceptions in

 § 3349c. But there is no way to read the language of § 3347(a) to embody the more

 limited exhaustion rule advocated by plaintiffs.

        Plaintiffs try to justify the exhaustion rule by arguing (FPC Br. 6, 17) that,

 because the FVRA exclusivity exception for office-specific succession statutes in

 § 3347(a)(1)(B) applies only where a statute “expressly * * * designates” an acting

 officer, the exception purportedly does not apply where the designated individual is

 not available to serve. But as the district court pointed out (JA 57), that is not what

 the provision says: whether or not the designated individual is available to serve, the

 statute still “expressly * * * designates” that individual to serve. Plaintiffs’ reading

 thus would render the FVRA inapplicable even where the office-specific statute is

 exhausted, which is untenable, as they themselves recognize.

        The flaw in plaintiffs’ reading is underscored by the related exception to the

 FVRA’s exclusivity in § 3347(a)(1)(A). That provision states that the FVRA is not
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 exclusive when another statute expressly “authorizes the President, a court, or the

 head of an Executive department, to designate an officer or employee” to serve on an

 acting basis. The provision thus clearly turns solely on whether the statute authorizes

 certain people to designate particular individuals—not on whether the potential

 designees are available. Given that § 3347(a)(1)(A) cannot plausibly be read as

 displacing the FVRA if and only if the potential designees are available, that is yet

 another reason why the parallel provision in § 3347(a)(1)(B) cannot be read as

 displacing the FVRA if and only if the specified designee is available.

        c. Plaintiffs make a scattershot of other textual and contextual arguments in

 support of their position. They all fail.

        Contrary to plaintiffs’ suggestion (FPC Br. 9), the recess-appointment

 exception in § 3347(a)(2) offers no support for their interpretation that the § 3347

 exceptions render the FVRA inapplicable rather than non-exclusive. As plaintiffs

 themselves acknowledge, once the President makes a recess appointment, there is no

 longer any vacancy and thus § 3345’s acting-designation authority for vacancies ceases

 to apply by its own terms. Section 3347(a)(2) merely confirms that the FVRA does

 not purport to restrict the President’s exercise of his constitutional authority under the

 Recess Appointments Clause.

        Similarly, plaintiffs derive no support from the exception in § 3347(a) for the

 Government Accountability Office (FPC Br. 9). The FVRA applies only to officers

 of an “Executive agency,” and § 3345 itself excludes the GAO from that term.
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 Accordingly, § 3347 merely repeats that threshold description of the FVRA’s scope,

 rather than exempting an office that otherwise would be covered.

        Plaintiffs also assert that the “whole purpose” of office-specific designation

 statutes such as § 508 is to “exempt the office from the general vacancies statute,” in

 order “to prevent the President from displacing the officer’s deputy with someone

 else.” FPC Br. 10. Plaintiffs cite no authority for this ipse dixit. Virtually all office-

 specific vacancy statutes were enacted under the backdrop of the pre-FVRA

 Vacancies Act, which expressly provided the President with the authority to designate

 any Senate-confirmed officer in lieu of the first assistant to the vacant office, but only subject

 to certain time limits. See 15 Stat. 168, 168 (1868); 5 U.S.C. §§ 3347, 3348 (1994).

 Plaintiffs provide no basis for their assumption that the purpose of office-specific

 vacancy statutes was to prevent the President from selecting most Senate-confirmed

 officers, rather than to enable specific officers to serve beyond the Vacancies Act’s

 time limits. See United States v. Lucido, 373 F. Supp. 1142, 1150-51 (E.D. Mich. 1974)

 (recognizing that Deputy Attorney General could continue to serve as Acting

 Attorney General under § 508 after time limit in Vacancies Act had expired). Indeed,

 plaintiffs’ assumption is belied by the Vacancies Act itself: it is precisely because

 office-specific statutes did not exempt those offices from the President’s general

 authority under the Vacancies Act to select other Senate-confirmed officials that it

 was necessary for the same section to provide that “[t]his section does not apply to a

 vacancy in the office of Attorney General.” 5 U.S.C. § 3347 (1994). And as explained
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 above, Congress eliminated that restriction on the President’s authority when it

 enacted the FVRA, which confirms that Congress no longer wished to exclude the

 Attorney General’s office from the general scope of the President’s authority to

 designate acting officers.

        For that reason, the hypothetical provisions devised by plaintiffs (FPC Br. 10-

 11) offer no insight into the meaning of § 3347(a). A legislature certainly could choose,

 for example, to make a general venue statute inapplicable when another statute

 creating a cause of action contains a more specific (and presumably inconsistent)

 venue provision. But it is abundantly clear from the text, structure, and legislative

 history of the FVRA that Congress made a fundamentally different choice with

 respect to the relationship between the FVRA and office-specific vacancy statutes like

 § 508. Whether language like that found in § 3347(a) could be given a different

 construction in an entirely different statutory context is irrelevant.

        Plaintiffs further argue (FPC Br. 15) that when Congress intends to authorize

 the President to depart from an office-specific order of succession, it says so expressly

 in the succession statute itself. But the provisions cited by plaintiffs are all

 distinguishable. The civilian statutes authorize the President to designate any “officer

 of the Federal Government,” not just officers who may be designated under the

 FVRA, and therefore require express language to accomplish that result. See, e.g., 40

 U.S.C. § 302. And the military service statutes cited by plaintiffs cross-reference the

 FVRA, but the cross-references do not authorize the President to proceed under that
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 statute; they merely take account of the existence of that independent statutory

 authority and thereby confirm that the FVRA co-exists with such office-specific

 statutes. See, e.g., 10 U.S.C. § 8017.

        Notably, Section 508 contains its own express cross-reference to the FVRA,

 for which plaintiffs have no satisfactory explanation. Section 508(a) provides that,

 “for the purpose of section 3345 of title 5[,] the Deputy Attorney General is the first

 assistant to the Attorney General.” This provision avoids potential uncertainty about

 the identity of the Attorney General’s first assistant under the FVRA. But plaintiffs’

 underlying theory is that § 508 displaces the FVRA unless and until the Deputy

 Attorney General is unavailable. As a result, under plaintiffs’ theory, there is no need

 for § 508 to prescribe who qualifies as first assistant for purposes of the FVRA when

 the Deputy Attorney General is available, and no purpose would be served by doing

 so. Remarkably, plaintiffs suggest that the cross-reference was intended to have “no

 substantive effect” (FPC Br. 27)—a suggestion that simply highlights their inability to

 explain why Congress included it.

        Conversely, the FVRA’s application to the office of the Attorney General does

 not render § 508 superfluous, as plaintiffs appear to suggest. Rather, as the district

 court noted (JA 58), § 508 serves several purposes not served by § 3345(a)(1) of the

 FVRA. First, as previously discussed, it allows the Deputy Attorney General (and

 others in the line of succession) to serve as Acting Attorney General beyond the

 FVRA’s general time limitations. See 5 U.S.C. § 3346. Second, it allows those
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 individuals to fill a vacancy in situations where the FVRA’s additional restrictions on

 acting service would not authorize it. See id. § 3345(b). Third, as noted above, it

 eliminates potential confusion over who the “first assistant” is in DOJ for purposes of

 the FVRA’s default rule in § 3345(a)(1).

        Plaintiffs thus likewise err in arguing (FPC Br. 13-14) that the district court’s

 interpretation of the FVRA flouts the presumption against implied repeals. Rather

 than construing the FVRA to impliedly repeal § 508, the decision below gives effect to

 both statutes, permitting officers specified in § 508 to serve as Acting Attorney

 General in circumstances where they would not be allowed to serve under the FVRA,

 and vice versa. Plaintiffs argue the presumption against implied repeals still applies

 because § 508 was meant to eliminate the President’s discretion under the general

 vacancy statutes. But as discussed, what originally restricted the President’s discretion

 was not § 508 itself, but instead the provision in the pre-FVRA Vacancies Act that

 excluded the Attorney General from the operation of that Act’s designation provision.

 Congress repealed that provision when it enacted the FVRA. The presumption

 against implied repeals is irrelevant to an express repeal.

        Finally, in response to the FVRA’s legislative history confirming that it would

 co-exist with office-specific vacancy statutes, supra p. 46, plaintiffs suggest (FPC Br. 24

 n.2) that the Senate Report was instead discussing how the Vacancies Act would

 operate if the office-specific statutes were repealed. That is incorrect, as the district

 court noted (JA 59-60). Although the Senate Report suggested that other committees
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 might wish to consider repealing such statutes in the future, it went on to say that,

 “[i]n any event, even with respect to the specific positions” covered by “the specific

 statutes this bill retains,” the Vacancies Act would continue to provide an “alternative

 procedure.” Senate Report 17 (emphasis added). The Report thus was clearly

 addressing how the FVRA would operate if the office-specific statutes were

 “retain[ed],” not how it would operate if they were repealed.

        Plaintiffs also note (FPC Br. 23) that the version of the bill addressed in the

 Senate Report contained a provision that the Vacancies Act would be “applicable”

 unless another statutory provision “expressly provides that the such [sic] provision

 supersedes sections 3345 and 3346.” Senate Report 26 (proposed § 3347(a)(1)).

 Although that provision was omitted from the enacted statute, the legislative

 discussion quoted above, contrary to plaintiffs’ suggestion, was not directed at that

 provision. Instead, the Senate Report was discussing a different provision in the bill,

 one that is nearly identical to the enacted language in § 3347(a)(1). Compare Senate

 Report 16-17 (discussion), with id. at 26 (proposed § 3347(a)(2)(A)-(B)). The only

 difference between the version of that provision in the bill and § 3347(a)(1)(A)-(B) as

 it now stands is that the version in the bill said that the Vacancy Act would be

 “applicable” unless office-specific statutes existed. Id. at 26. And that difference cuts

 strongly against plaintiffs. Even an exception to “applicab[ility]” was treated by the

 Senate as consistent with the Vacancies Act continuing to “provide an alternative

 procedure” for filling vacancies in such offices. Id. at 17. A fortiori, the language
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 ultimately enacted by Congress in § 3347(a)(1), which merely creates an exception to

 the FVRA’s “exclusiv[ity]” rather than its applicability, confirms that office-specific

 statutes co-exist with the FVRA rather than displacing it in whole or in part.

       B.     The Canon of Constitutional Avoidance is Inapposite for
              Multiple Reasons

       In the proceedings below, plaintiffs argued that the President’s selection of Mr.

 Whitaker to serve temporarily as Acting Attorney General violated the Appointments

 Clause. The district court analyzed that constitutional claim at length and correctly

 held it to be without merit. JA 61-81.

       On appeal, plaintiffs have abandoned their freestanding constitutional claim.

 They do not ask this Court to hold that the President’s designation of Mr. Whitaker

 violated the Appointments Clause if it was authorized by the FVRA. Instead, they

 argue only that this Court should adopt their narrow construction of the FVRA in

 order to avoid the supposedly “substantial” constitutional question presented by the

 designation. FPC Br. 31-41.

       Plaintiffs’ Appointments Clause arguments fare no better under the rubric of

 constitutional avoidance than they did as a freestanding constitutional claim. The

 constitutional avoidance canon requires two things before it comes into play: an

 ambiguous statute that is reasonably amenable to a narrowing construction that would

 avoid a constitutional question, and a constitutional question that is sufficiently




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 substantial that adopting a second-best interpretation of the statute is warranted.

 Neither is present here.

               1.     The FVRA is not reasonably amenable to a narrowing
                      construction that would avoid the constitutional
                      question.

        The canon of constitutional avoidance “is an interpretive tool, [which]

 counsel[s] that ambiguous statutory language be construed to avoid serious

 constitutional doubts.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 516 (2009).

 However, “a court relying on that canon still must interpret the statute, not rewrite it.”

 Jennings v. Rodriguez, 138 S. Ct. 830, 836 (2018). Courts therefore “may impose a

 limiting construction on a statute only if it is ‘readily susceptible’ to such a

 construction.” Reno v. American Civil Liberties Union, 521 U.S. 844, 884 (1997).

        Here, the FVRA is not “readily susceptible” to the construction urged by

 plaintiffs. To the contrary, as the district court explained and for the reasons detailed

 above, plaintiffs’ “interpretation is foreclosed by ‘ordinary textual analysis.’” JA 61

 (quoting Jennings, 138 S. Ct. at 842).

        Moreover, plaintiffs’ proposed reading of the FVRA would not actually avoid

 their asserted constitutional concerns with the district court’s reading of the FVRA.

 As discussed below, plaintiffs argue that it is constitutionally impermissible for the

 President to direct an employee, rather than an officer, to perform the duties of a

 principal officer on an acting basis. But as discussed above, the FVRA expressly

 authorizes the President to designate senior employees to serve as acting agency
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 heads, see 5 U.S.C. § 3345(a)(3), and plaintiffs themselves concede that it so applies

 where there is no Senate-confirmed official designated and available to serve under an

 office-specific succession statute. Accordingly, although plaintiffs’ narrowing

 construction of the FVRA might evade the asserted constitutional concerns in this

 particular case, it would not eliminate the asserted constitutional doubts about the

 FVRA.

        The canon of constitutional avoidance is inapposite in such circumstances.

 The canon rests in part on the interpretive presumption that Congress did not intend

 to press the constitutional envelope, and in part on the principle of judicial restraint

 that difficult constitutional questions should not be decided unnecessarily. See Clark v.

 Martinez, 543 U.S. 371, 381 (2005). Neither of those justifications for adopting a

 second-best interpretation of the statute applies where, as here, the statute will

 nevertheless continue to unambiguously present the constitutional question. In short,

 the canon requires constitutional avoidance, not constitutional procrastination.

               2.     The President’s selection of Mr. Whitaker under the
                      FVRA does not raise a substantial question under the
                      Appointments Clause.

        In addition to abandoning their freestanding constitutional claim, plaintiffs

 have significantly narrowed their constitutional arguments. In the proceedings below,

 plaintiffs primarily contended that, under the Appointments Clause, a non-Senate-

 confirmed individual may serve as an acting principal officer, if at all, only if he is that

 officer’s first assistant—such that temporary acting service is purportedly part of his
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 own office’s job responsibilities. See JA 63-64. On appeal, plaintiffs no longer

 advance that contention, and have thereby forfeited it. See, e.g., Stand Up for California!

 v. U.S. Dep’t of Interior, 879 F.3d 1177, 1186 (D.C. Cir. 2018). Instead, plaintiffs rely

 solely on their alternative, and much more limited, argument below: that the

 Appointments Clause precludes the President from directing an employee, rather than

 an officer, to perform temporarily the duties of a vacant principal office in an acting

 capacity under the FVRA. FPC Br. 31-41. But that narrower argument, like the

 abandoned broader argument, does not present the “serious doubt” required to

 invoke the constitutional avoidance canon. Reno v. Flores, 507 U.S. 292, 314 n.9

 (1993).

        a. Plaintiffs’ decision to abandon their broader Appointments Clause argument

 is understandable. As the district court’s meticulous opinion demonstrates, two

 hundred years of precedent from all three branches of government make clear that the

 Appointments Clause does not confine the President to choosing Senate-confirmed

 officers or first assistants to serve as acting agency heads. See JA 63-78. We briefly

 summarize this precedent because it is relevant to why the district court correctly

 rejected the narrower argument that plaintiffs continue to press (under the guise of

 the avoidance canon).

        To begin with legislative practice, “from the time of the founding to today,

 Congress has continuously authorized the President to direct persons who are not

 first assistants and who lack any constitutionally relevant Senate confirmation to
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 perform the duties of a principal office temporarily on an acting basis.” JA 71. The

 district court’s opinion surveys this “unbroken legislative practice” (id.) in detail. See

 JA 68-71.

        As early as 1792, Congress authorized the President to choose “any person” to

 serve as an acting Secretary of State, Treasury, or War in the event of death, illness, or

 absence from the seat of government. See SW General, 137 S. Ct. at 935. In 1795,

 Congress expanded the President’s authority by authorizing him to choose any person

 to serve as Acting Secretary regardless of the reason for the vacancy, while “impos[ing]

 a six-month limit on acting service.” Id. Congress easily could have limited the

 President’s authority under these statutes by: (1) designating as acting the “first

 assistant” in each department; (2) requiring the President to choose among Senate-

 confirmed officials or at least among federal officers; or (3) authorizing the President

 to choose otherwise only if none of the prior categories of individuals were available

 or if there were some other type of emergency. But Congress did none of these

 things. The 1792 and 1795 Acts are of special importance, as “early congressional

 practice . . . provides contemporaneous and weighty evidence of the Constitution’s

 meaning.” Alden v. Maine, 527 U.S. 706, 743-44 (1999) (quotation marks omitted).

        In the 1860s, Congress replaced these statutes with more general vacancy laws.

 JA 69-70. The Vacancies Act of 1868 imposed short time limits on acting service and

 limited the President’s choice of persons to fill vacant offices, but it did not confine

 the role of acting agency head to first assistants, as it allowed the President to choose
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 any Senate-confirmed officer (even if the officer’s duties were entirely unrelated to the

 duties of the vacant office and the officer had been confirmed before the Vacancies

 Act was enacted). JA 70. Congress gradually liberalized the terms of the Vacancies

 Act over the intervening years, then substantially expanded the law by enacting the

 FVRA, which expressly authorizes the President to direct non-Senate-confirmed

 senior officers and employees of an agency to serve as acting agency head. Just like

 the early congressional statutes, the FVRA authorizes the President to fill vacancies,

 including for agency heads, for a temporary period of at least several months without

 regard to whether there is a “first assistant” or Senate-confirmed officer available to

 serve or any form of exigency.

        This legislative “understanding is further confirmed by the longstanding

 practice of the Executive Branch.” JA 71. As the district court explained in detail,

 Presidents historically have chosen non-Senate-confirmed individuals to assume

 temporarily the duties of principal offices in the event of vacancies or absences, even

 though such individuals were not first assistants in the sense that their pre-existing job

 responsibilities included serving as acting agency head when needed. Most

 significantly, in over one hundred instances, Presidents exercised their discretion to

 designate non-Senate-confirmed chief clerks to serve as Acting or ad interim

 Secretaries—a distinct role for which they sometimes obtained additional

 compensation. JA 71-73. Presidents also frequently designated as acting principal

 officers the heads of other Departments, even when the functions of their Senate-
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 confirmed offices were not germane to the duties of the vacant offices and thus the

 Appointments Clause would have required additional Senate confirmation for them to

 fill those offices on a permanent basis. JA 73-74. Indeed, on at least three occasions,

 President Jackson designated persons with no other government position to serve as

 an acting principal officer. JA 74.

        And here too, the historical executive practice continues to modern times:

 Presidents George W. Bush and Barack Obama used their FVRA authority to place

 chiefs of staff in the lines of succession for executive agencies, including sometimes

 above a Senate-confirmed officer within the same agency. See No. 18-cv-2988, Dkt.

 No. 16, at 67 & nn.38-39. That should not be surprising, because a chief of staff has a

 particularly comprehensive understanding of the agency head’s duties and the agency’s

 operation as a whole.

        This consistent and mutually reinforcing record of legislative and executive

 practice is confirmed by Supreme Court precedent, which “has repeatedly embraced

 the government’s view that it is the temporary nature of acting duties that permits an

 individual to perform them without becoming a principal officer under the

 Appointments Clause.” JA 64. The leading case, United States v. Eaton, 169 U.S. 331

 (1898), is discussed at length in the district court’s opinion. See JA 64-67.

        Eaton, a missionary who was not employed by the federal government, was

 appointed as Vice Consul General of Siam in order to take over the consulate after

 the departure of the Consul General, who was terminally ill. Eaton, 169 U.S. at 331-
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 32. Eaton served as acting Consul General for almost a year. Id. at 332-33. In a

 dispute over salary payments, the Supreme Court upheld the constitutionality of

 Eaton’s appointment and the underlying statutory scheme providing for his

 appointment. Id. at 334-35, 343-44, 352. Eaton held that a subordinate “charged with

 the performance of the duty of the superior for a limited time, and under special and

 temporary conditions,” is not “thereby transformed into the superior and permanent

 official” for purposes of the Appointments Clause and may serve without Senate

 confirmation. Id. at 343-44.

       As the district court explained, “to the extent Eaton involved a first assistant at

 all, it involved one only in the most superficial and formalistic sense”: Eaton was a

 clergyman with no connection to the government, who upon the Consul General’s

 imminent departure was appointed to the office of Vice Consul, an office the sole

 function of which was to assume the Consul General’s duties in the event of absence

 or vacancy. JA 66. The core feature of the Vice Consul’s role that distinguished it

 from that of the Consul General for constitutional purposes, and that permitted

 Eaton to serve as Acting Consul General without Presidential selection and Senate

 confirmation, was the fact that Congress had confined Vice Consuls to a statutorily

 limited period of service “and thereby * * * deprive[d] them of the character of

 ‘consuls.’” Eaton, 169 U.S. at 343. The “special and temporary conditions” referred

 to in Eaton were not any particular exigency, but the limits of the then-regulatory


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 scheme, which permitted service during “the absence or the temporary inability of the

 consul,” whatever the cause. Id. at 342-43.

        Finally, as the district court noted, the Supreme Court has cited Eaton on

 multiple occasions, and each time it has characterized the holding based on the limited

 duration of Eaton’s service, without limiting it to first assistants or particular

 exigencies. JA 67-68, 68 n.12. In Morrison v. Olson, 487 U.S. 654, 670-73 (1988), the

 Court affirmatively relied on the temporary nature of the Vice Consul’s acting service

 in Eaton to support the Court’s holding that the independent counsel was an inferior

 rather than principal officer. And in Edmond v. United States, 520 U.S. 651, 661 (1997),

 the Court cited Eaton with approval and described it as holding that “a vice consul

 charged temporarily with the duties of the consul” was an inferior officer.

        b. Plaintiffs cannot evade these established precedents and principles by

 limiting their Appointments Clause objection to the argument that federal employees,

 as opposed to inferior officers, may not be directed by the President to temporarily

 serve as acting principal officers. The district court rightly rejected that narrower

 argument too. See JA 78-81.

        Although plaintiffs emphasize (FPC Br. 35-36) that the Appointments Clause

 specifies the process for selecting all “Officers” whose positions are “established by

 Law,” U.S. Const. art. II, § 2, cl. 2, plaintiffs fail to grapple with the fact that the

 Clause’s text does not expressly address whether non-officer employees may

 temporarily perform the functions of a vacant office. In particular, the Clause neither
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 says that the functions of an office must always be performed by an officer nor says that

 an individual temporarily performing such functions necessarily becomes an officer. To

 the contrary, as plaintiffs acknowledge (FPC Br. 35), the Supreme Court has treated

 individuals as “mere employees” rather than constitutional “officers” when “their

 duties were ‘occasional or temporary’ rather than ‘continuing and permanent.’” Lucia

 v. SEC, 138 S. Ct. 2044, 2051 (2018) (quoting United States v. Germaine, 99 U.S. 508,

 511-12 (1879)).

        Again, plaintiffs’ argument is not just unsupported by the Appointments

 Clause’s text, but foreclosed by historical practice. As noted above, the 1792 and

 1795 vacancy acts provided that the President may “authorize any person * * * to

 perform the duties” of the Secretaries of State, Treasury, and War in the event of

 vacancies or absences. 1 Stat. at 281; 1 Stat. at 415. The statutes thus unambiguously

 gave Presidents plenary discretion to designate employees (as well as private citizens)

 to serve. Plaintiffs’ primary response (FPC Br. 40) is to speculate that the early

 Congresses simply disregarded the requirements of the Appointments Clause when

 they enacted these statutes. That speculation is both unsupported and inconsistent

 with the views of the Supreme Court, which has consistently treated “early




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 congressional practice” as “provid[ing] ‘contemporaneous and weighty evidence of

 the Constitution’s meaning.’” Alden, 527 U.S. at 743-44.2

       Plaintiffs also argue (FPC Br. 36-37) that Eaton supports their position because

 Eaton was technically appointed to the inferior office of Vice Consul. But again, as

 the district court noted, that was an appointment to an inferior office “only in the

 most superficial and formalistic sense,” JA 66, because the sole duty of Vice Consul

 was to perform the functions of the Consul General in his absence, and Eaton was a

 private missionary before he was chosen to serve upon the Consul General’s

 imminent departure. To the extent there is any meaningful difference between the

 “appointment” to the “office” in Eaton and the President’s direction here that the




       2
          Plaintiffs mischaracterize (FPC Br. 40) two Attorney General opinions as
 suggesting that early Congresses “did not account for” the requirements of the
 Appointments Clause. Neither opinion identified a statute that purported to
 authorize a manner of selection for government service that would have violated the
 Appointments Clause. See 1 Op. Att’y Gen. 65 (1796) (explaining that a statute was
 properly interpreted to require treaty negotiators to be validly appointed officers); 7
 Op. Att’y Gen. 186, 194-95 (1855) (observing that a statute had mentioned only a
 subset of the diplomatic officers the President is constitutionally authorized to
 appoint). Plaintiffs also cite a treatise discussing an early act of Congress that, in
 plaintiffs’ words (FPC Br. 40), “omitted [the] President’s removal power” in
 connection with the appointment of cabinet secretaries. But as the treatise explains,
 the act omitted an express removal authorization precisely because Congress
 recognized that the Constitution itself conferred the removal power on the President.
 See Lucy M. Salmon, History of the Appointing Power of the President 16-17 (1886). Far
 from disregarding the Constitution’s requirements, this congressional decision has
 been recognized by the Supreme Court as “contemporaneous and weighty evidence of
 the Constitution’s meaning.” Free Enter. Fund v. PCAOB, 561 U.S. 477, 492 (2010).
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 Attorney General’s own Chief of Staff should temporarily serve as Acting Attorney

 General given the Attorney General’s resignation, it cuts decisively against plaintiffs.

        In any event, even if the Constitution did require employees to be appointed as

 inferior officers before they could perform the duties of a vacant principal office on

 an acting basis, the President’s designation of Mr. Whitaker pursuant to the FVRA

 would satisfy the Appointments Clause, which authorizes Congress “by Law [to] vest

 the Appointment” of inferior officers “in the President alone.” U.S. Const. art. II,

 § 2, cl. 2. As the district court recognized (JA 79-80), the fact that the FVRA does not

 use the “magic word[]” “appoint” and instead uses the word “direct,” 5 U.S.C.

 § 3345(a)(2)-(3), is of no constitutional or statutory significance. If necessary, an

 FVRA direction may be treated as a constitutional appointment, because, at the

 Founding, “the verb ‘appoint’ meant ‘to establish anything by decree’ or ‘to allot,

 assign, or designate.’” SW General, 137 S. Ct. at 946 (Thomas, J., concurring) (cleaned

 up); see also JA 79-80 (distinguishing Weiss v. United States, 510 U.S. 163 (1994), which

 held only that a statute using terms like “detail” and “assign” did not require an

 “appointment” as a statutory matter, not that it foreclosed interpreting the statute as

 authorizing an appointment even if necessary to avoid a constitutional problem). The

 OLC opinion invoked by plaintiffs (FPC Br. 34) itself concluded that “understanding

 the President’s ‘direct[ion]’ under 5 U.S.C. § 3345(a)(3) to involve an appointment of

 an employee as an inferior officer” would avoid any constitutional question that might

 be presented by an employee’s temporary performance of the duties of a vacant
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 office. Designation of Acting Director of the Office of Management and Budget, 27 Op. O.L.C.

 121, 125 (2003).

        Indeed, if Congress had enacted a statute that created the “office” of “acting

 agency head” and authorized the President to “appoint” to that office an employee

 covered by 5 U.S.C. § 3345(a)(3), that would be materially indistinguishable from both

 the statutory scheme in Eaton and the FVRA itself. This dooms plaintiffs’ invocation

 of the canon of constitutional avoidance for two related reasons. First, it means,

 ironically, that they are improperly urging this Court to adopt a technical reading of

 the FVRA that manufactures rather than avoids a constitutional question. Second, it

 demonstrates that their asserted objection to the President’s designation of Mr.

 Whitaker is ultimately grounded, not in the Appointment Clause’s substance, but

 rather on a misreading of the FVRA’s form.3

        Finally, plaintiffs warn that if the President is allowed to designate employees to

 serve temporarily as acting agency heads, the Senate’s role under the Appointments

 Clause will be eviscerated and the Appointments Clause itself will become a nullity.

 FPC Br. 32-34. Plaintiffs’ concerns are misplaced. Presidents were authorized by



        3
          Plaintiffs argue in passing (FPC Br. 41 n.3) that if the President’s designation
 of Mr. Whitaker did amount to an appointment as an officer, the absence of
 supervision during his temporary service rendered him a principal officer rather than
 an inferior one, and therefore required Senate confirmation. Again, Eaton forecloses
 that argument, as does the longstanding legislative and executive practice authorizing
 individuals to serve as acting agency heads without Senate confirmation for that
 service.
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 Congress to designate employees to serve as acting cabinet secretaries for nearly

 seventy years after the founding of the Republic, and the apocalyptic scenarios

 sketched out by plaintiffs never materialized. Nor have they materialized in the

 additional two decades that the FVRA has been in effect and has indisputably

 authorized such designations in at least some circumstances. Moreover, the

 President’s authority under the FVRA is under the control of Congress itself. If

 Congress ever determines that the FVRA gives the President undue latitude, it may

 pare back on the President’s statutory authority, as it did when it enacted the

 Vacancies Act in 1868. In all events, the President’s designation of the former

 Attorney General’s Chief of Staff for the few months necessary for Senate

 confirmation of the replacement Attorney General falls well within the authority

 contemplated by both the FVRA and the 1795 vacancy statute.

       C.     In Any Event, Attorney General Barr Has Validly Ratified
              the Rule

       Attorney General Barr was confirmed and sworn in on February 14, 2019,

 shortly before the district court ruled below. Although he agreed that the President’s

 designation of Mr. Whitaker was valid, he has now formally ratified the Rule in order

 to pretermit needless further litigation over the question. See Bump-Stock-Type Devices,

 https://go.usa.gov/xEsRD (Mar. 11, 2019) (to be published in the Federal Register

 Mar. 14, 2019). Before doing so, the Attorney General “familiarized [him]self with

 the rulemaking record that was before the Acting Attorney General and * * *

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 reevaluated those materials without any deference to his earlier decision.” Id. Having

 “independently reevaluate[d] the above-mentioned rule and the underlying rulemaking

 record,” the Attorney General “personally c[a]me to the conclusion that it is

 appropriate to ratify and affirm the final rule as it was published at 83 FR 66514,” and

 he did so. Id. Accordingly, the Attorney General’s ratification is sufficient authority

 for the Rule and obviates plaintiffs’ objections to Acting Attorney General Whitaker’s

 authority.

               1.     Attorney General Barr’s ratification of the Rule cures
                      any asserted defect in Acting Attorney General
                      Whitaker’s authority.

        It is well settled that agency actions taken by an invalidly appointed official are

 subject to ratification by an official who has been properly appointed. See, e.g., Wilkes-

 Barre Hosp. Co. v. NLRB, 857 F.3d 364, 370-72 (D.C. Cir. 2017); Intercollegiate Broad.

 Sys., Inc. v. Copyright Royalty Bd., 796 F.3d 111, 117-21 (D.C. Cir. 2015); Doolin Sec. Sav.

 Bank, FSB v. Office of Thrift Supervision, 139 F.3d 203, 212 (D.C. Cir. 1998); FEC v. Legi-

 Tech, 75 F.3d 704, 708-709 (D.C. Cir 1996). It is equally well settled that when an

 action by an improperly appointed official is properly ratified, the ratification cures

 the original defect in authority. See Wilkes-Barre, 857 F.3d at 371 (“Ratification can

 remedy defects arising from the decisions of improperly appointed officials”);

 Intercollegiate Broadcasting System, 796 F.3d at 117-21; Doolin, 139 F.3d at 212-14; Legi-

 Tech, 75 F.3d at 708-09; see also CFPB v. Gordon, 819 F.3d 1179, 1190-91 (9th Cir.

 2016); Advanced Disposal Servs. E., Inc. v. NLRB, 820 F.3d 592, 603 (3d Cir. 2016).
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        For example, in Doolin, an Acting Director of the Office of Thrift Supervision

 brought charges against a bank. Following that official’s resignation, another Acting

 Director ratified the charges in the course of issuing a final administrative decision

 against the bank. 139 F.3d at 212-14. This Court held that the ratification “cured any

 deficiency caused by [the first Acting Director’s] [alleged] lack of lawful authority.” Id.

 at 212. The Court noted that the ratifying officer had the authority to take the same

 underlying action himself at the time of the ratification; that the ratification was the

 product of “a detached and considered judgment” on the part of the ratifying officer;

 and that requiring the agency to conduct the administrative process all over again

 “would bring about the same outcome” and “would do nothing but give the Bank the

 benefit of delay.” Id. at 213-14.

        In order for an agency to validly ratify a previously unauthorized decision, the

 ratifying officer must have authority to perform the ratified action at the time that the

 ratification is made. See FEC v. NRA Political Victory Fund, 513 U.S. 88, 98 (1994);

 Doolin, 139 F.3d at 213. That requirement is readily satisfied here. The Attorney

 General has authority to prescribe rules and regulations to enforce the National

 Firearms Act and subsequent legislation. 18 U.S.C. § 926(a); 26 U.S.C. § 7805(a); see




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 id. § 7801(a)(2)(A). If the Rule had not already been issued, Attorney General Barr

 would have been free to issue the same Rule himself.4

        The Court’s precedents “establish that ratification can remedy a defect arising

 from the decision of ‘an improperly appointed official * * * when * * * a properly

 appointed official has the power to conduct an independent evaluation of the merits

 and does so.’” Wilkes-Barre, 857 F.3d at 371 (omissions in original) (quoting

 Intercollegiate Broad., 796 F.3d at 117); see also Doolin, 139 F.3d at 213 (sustaining

 ratification based on “a detached and considered judgment” regarding the merits of

 the ratified action). It is not entirely clear whether an “independent evaluation of the

 merits” and a “detached and considered judgment” are prerequisites to ratification.

 See Intercollegiate Broad., 796 F.3d at 118 & n.1 (discussing Court’s acceptance of

 possibly “rubberstamped” ratification decisions in Legi-Tech and other cases). But to

 the extent that they are, those requirements are amply satisfied here by the Attorney


        4
         The Restatement (Second) of Agency suggests that the principal must also
 have had authority to perform the ratified act at the time the act was originally taken.
 See NRA Political Victory Fund, 513 U.S. at 98. Under the more recent Restatement
 (Third) of Agency, in contrast, “a ratification is valid even if the principal did not have
 capacity to act at the time, so long as the person ratifying has the capacity to act at the
 time of ratification.” Gordon, 819 F.3d at 1191 (citing Restatement (Third) § 4.04(1)).
 The Court need not choose between these two approaches, because it is unquestioned
 that authority to promulgate the Rule was vested in the Attorney General’s office at
 the time that the Rule was issued. Ratification does not require a further showing that
 the person performing the Attorney General’s functions at that time was properly
 appointed. See, e.g., Doolin, 139 F.3d at 214 (holding that action by Acting Director of
 Office of Thrift Supervision was validly ratified by his successor even if Acting
 Director himself had not “lawfully occupied the position of Director” at the time that
 he acted); Intercollegiate Broadcasting, 796 F.3d at 119 n.3 (discussing Doolin).
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 General’s informed, de novo reconsideration. See supra pp. 69-70; State Nat’l Bank of

 Big Spring v. Lew, 197 F. Supp. 3d 177, 184-86 (D.D.C. 2016) (sustaining ratification of

 previously issued regulations and noting that “nothing in [this Court’s agency

 ratification cases] implies that the particular form of administrative action at issue is

 dispositive”).

        Finally, the FVRA does not preclude ratification in these circumstances.

 Although the FVRA precludes ratification of certain actions by officers who were not

 designated in accordance with its requirements, that prohibition applies only to

 actions “taken * * * in the performance of a[] function or duty of a vacant office.” 5

 U.S.C. § 3348(d)(1)-(2). And for purposes of that prohibition, the FVRA narrowly

 defines “function or duty” as limited to non-delegable actions that are “required” by

 statute or regulation to be performed “by the applicable officer (and only that officer).”

 Id. § 3348(a)(2)(A)-(B) (emphasis added). Here, no statute or regulation provides that

 only the Attorney General may issue rules regarding the meaning of “machinegun.”

 To the contrary, Congress has provided that “any function of the Attorney General”

 may be delegated by him to “any other officer, employee, or agency of the

 Department of Justice.” 28 U.S.C. § 510 (emphasis added). And none of the statutes

 or regulations underlying the bump stock rule prohibits the Attorney General from

 delegating or re-delegating his rulemaking functions under those authorities. See 18

 U.S.C. § 926; 26 U.S.C. §§ 7801(a)(2) and 7805(a); 22 U.S.C. § 2778; Executive Order

 No. 13,637, 78 Fed. Reg. 16,129, 16,130 (Mar. 8, 2013). This rulemaking function
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 therefore does not come within the restrictive definition of a “function or duty” of

 the Attorney General that may not be ratified under § 3348.

               2.     Given Attorney General Barr’s ratification of the Rule,
                      this Court need not and should not address Acting
                      Attorney General Whitaker’s Authority to Issue the
                      Rule.

        Because the Attorney General’s ratification “cure[s] any deficiency caused by

 [the Acting Attorney General’s alleged] lack of lawful authority,” Doolin, 139 F.3d at

 212, this Court should affirm the denial of a preliminary injunction against the Rule

 without passing on the validity of the Acting Attorney General’s designation. That is

 the approach that this Court properly took in Doolin. Id. at 214 (declining to decide

 “whether [the predecessor] lawfully occupied the position of Director”).5 So too here,

 the ratification of the Rule by the Attorney General allows this Court to resolve the

 case without passing on the validity of the Acting Attorney General’s designation, and

 basic principles of judicial restraint instruct that it is not appropriate to decide the

 statutory and constitutional issues where their resolution is not required to dispose of

 the case. “[T]he cardinal principle of judicial restraint [is that] if it is not necessary to

 decide more, it is necessary not to decide more.” Cohen v. Board of Trustees of Univ. of

 Dist. of Columbia, 819 F.3d 476, 485 (D.C. Cir. 2016) (internal quotation marks

 omitted).



        In this Court’s ratification cases besides Doolin, the invalidity of the
        5

 appointment at issue had already been resolved in litigation preceding the ratification.
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        Landry v. FDIC, 204 F.3d 1125, 1131 (D.C. Cir. 2000), is not to the contrary.

 There, this Court decided the merits of an Appointments Clause challenge to an

 administrative law judge’s appointment even though the judge’s decision had been

 reviewed de novo and affirmed by the agency itself. Landry distinguished Doolin on

 the ground that Doolin involved the ratification of an invalidly appointed official’s

 action by the official’s validly appointed successor. Id. The Court reasoned that

 Doolin therefore did not involve the “special problem” presented by “Appointments

 Clause analysis of purely decision recommending employees” and “did not present the

 catch–22 of the present case.” Id.; see Intercollegiate Broad., 796 F.3d at 124 (discussing

 Landry). The ratification in this case occupies the same position as the one in Doolin,

 and is distinguishable from Landry on the same grounds.

        Finally, contrary to plaintiffs’ suggestion below, there is no basis for

 considering the validity of the Acting Attorney General’s designation under a

 mootness exception. Plaintiffs’ request for a preliminary injunction against the Rule

 based on the alleged invalidity of the designation has not been mooted by the

 ratification; rather, the ratification simply causes the challenge to the Rule to fail on

 the merits for an additional reason and thus renders it unnecessary and inappropriate

 to pass on the designation. See Doolin, 139 F.3d at 214. Although plaintiffs separately

 sought relief below against the designation itself, the order on appeal did not pass on

 such relief and plaintiffs plainly lack standing to challenge the designation

 independent of its alleged effect on the Rule that concretely injures them. In any
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 event, no mootness exception would apply here because there is no reasonable

 likelihood that there will be (1) another Attorney General vacancy (2) that leads to the

 designation of an employee rather than an available Deputy or Associate Attorney

 General to serve as Acting Attorney General and (3) that results in an action by the

 Acting Attorney General that injures these particular plaintiffs themselves. See, e.g.,

 Pharmachemie B.V. v. Barr Labs., Inc., 276 F.3d 627, 633 (D.C. Cir. 2002) (the “capable

 of repetition yet evading review” exception requires “a reasonable expectation that the

 same complaining party would be subjected to the same action again”); Friends of the

 Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) (the “voluntary

 cessation” exception is inapplicable where “the allegedly wrongful behavior could not

 reasonably be expected to recur”).




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                                  CONCLUSION

       For the foregoing reasons, the judgment of the district court should be

 affirmed.

                                               Respectfully submitted,

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 March 2019




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                       CERTIFICATE OF COMPLIANCE

       This brief complies with the Court’s order of March 1, 2019, because it

 contains 19,490 words. This brief also complies with the typeface and type-style

 requirements of Federal Rule of Appellate Procedure 32(a)(5)-(6) because it was

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                                                s/ Brad Hinshelwood
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                           CERTIFICATE OF SERVICE

       I hereby certify that on March 13, 2019, I electronically filed the foregoing brief

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 Columbia Circuit by using the appellate CM/ECF system. Participants in the case are

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 Act of Feb. 13, 1795, ch. 21, 1 Stat. 415 .......................................................................... A40
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 26 U.S.C. § 5845(b)
 § 5845. Definitions
 (b) Machinegun.--The term “machinegun” means any weapon which shoots, is
 designed to shoot, or can be readily restored to shoot, automatically more than one
 shot, without manual reloading, by a single function of the trigger. The term shall also
 include the frame or receiver of any such weapon, any part designed and intended
 solely and exclusively, or combination of parts designed and intended, for use in
 converting a weapon into a machinegun, and any combination of parts from which a
 machinegun can be assembled if such parts are in the possession or under the control
 of a person.




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   18 U.S.C. 922(o): Transfer or possession of machinegun
   26 U.S.C. 5845(b): Definition of machinegun
   18 U.S.C. 921(a)(23): Definition of machinegun

          The definition of machinegun in the National Firearms Act and the Gun Control
   Act includes a part or parts that are designed and intended for use in converting a
   weapon into a machinegun. This language includes a device that, when activated by a
   single pull of the trigger, initiates an automatic firing cycle that continues until the finger
   is released or the ammunition supply is exhausted.

   ATF Rul. 2006-2

   The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) has been asked by
   several members of the firearms industry to classify devices that are exclusively designed
   to increase the rate of fire of a semiautomatic firearm. These devices, when attached to a
   firearm, result in the firearm discharging more than one shot with a single function of the
   trigger. ATF has been asked whether these devices fall within the definition of
   machinegun under the National Firearms Act (NFA) and Gun Control Act of 1968
   (GCA). As explained herein, these devices, once activated by a single pull of the trigger,
   initiate an automatic firing cycle which continues until either the finger is released or the
   ammunition supply is exhausted. Accordingly, these devices are properly classified as a
   part “designed and intended solely and exclusively, or combination of parts designed and
   intended, for use in converting a weapon into a machinegun” and therefore machineguns
   under the NFA and GCA.

   The National Firearms Act (NFA), 26 U.S.C. Chapter 53, defines the term “firearm” to
   include a machinegun. Section 5845(b) of the NFA defines “machinegun” as “any
   weapon which shoots, is designed to shoot, or can be readily restored to shoot,
   automatically more than one shot, without manual reloading, by a single function of the
   trigger. The term shall also include the frame or receiver of any such weapon, any part
   designed and intended solely and exclusively, or combination of parts designed and
   intended, for use in converting a weapon into a machinegun, and any combination of
   parts from which a machinegun can be assembled if such parts are in the possession or
   under the control of a person.” The Gun Control Act of 1968 (GCA), 18 U.S.C. Chapter
   44, defines machinegun identically to the NFA. 18 U.S.C. 921(a)(23). Pursuant to 18
   U.S.C. 922(o), machineguns manufactured on or after May 19, 1986, may only be




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   transferred to or possessed by Federal, State, and local government agencies for official
   use.

   ATF has examined several firearms accessory devices that are designed and intended to
   accelerate the rate of fire for semiautomatic firearms. One such device consists of the
   following components: two metal blocks; the first block replaces the original
   manufacturer’s V-Block of a Ruger 10/22 rifle and has attached two rods approximately
   ¼ inch in diameter and approximately 6 inches in length; the second block,
   approximately 3 inches long, 1 ⅜ inches wide, and ¾ inch high, has been machined to
   allow the two guide rods of the first block to pass through. The second block supports
   the guide rods and attaches to the stock. Using ¼ inch rods, metal washers, rubber and
   metal bushings, two collars with set screws, one coiled spring, C-clamps, and a split ring,
   the two blocks are assembled together with the composite stock. As attached to the
   firearm, the device permits the entire firearm (receiver and all its firing components) to
   recoil a short distance within the stock when fired. A shooter pulls the trigger which
   causes the firearm to discharge. As the firearm moves rearward in the composite stock,
   the shooter’s trigger finger contacts the stock. The trigger mechanically resets, and the
   device, which has a coiled spring located forward of the firearm receiver, is compressed.
   Energy from this spring subsequently drives the firearm forward into its normal firing
   position and, in turn, causes the trigger to contact the shooter’s trigger finger. Provided
   the shooter maintains finger pressure against the stock, the weapon will fire repeatedly
   until the ammunition is exhausted or the finger is removed. The assembled device is
   advertised to fire approximately 650 rounds per minute. Live-fire testing of this device
   demonstrated that a single pull of the trigger initiates an automatic firing cycle which
   continues until the finger is released or the ammunition supply is exhausted.

   As noted above, a part or parts designed and intended to convert a weapon into a
   machinegun, i.e., a weapon that will shoot automatically more than one shot, without
   manual reloading, by a single function of the trigger, is a machinegun under the NFA and
   GCA. ATF has determined that the device constitutes a machinegun under the NFA and
   GCA. This determination is consistent with the legislative history of the National
   Firearms Act in which the drafters equated “single function of the trigger” with “single
   pull of the trigger.” See, e.g., National Firearms Act: Hearings Before the Comm. on
   Ways and Means, House of Representatives, Second Session on H.R. 9066, 73rd Cong., at
   40 (1934). Accordingly, conversion parts that, when installed in a semiautomatic rifle,
   result in a weapon that shoots more than one shot, without manual reloading, by a single
   pull of the trigger, are a machinegun as defined in the National Firearms Act and the Gun
   Control Act.

         Held, a device (consisting of a block replacing the original manufacturer’s V-Block
   of a Ruger 10/22 rifle with two attached rods approximately ¼ inch in diameter and
   approximately 6 inches in length; a second block, approximately 3 inches long, 1 ⅜
   inches wide, and ¾ inch high, machined to allow the two guide rods of the first block to
   pass through; the second block supporting the guide rods and attached to the stock; using
   ¼ inch rods; metal washers; rubber and metal bushings; two collars with set screws; one
   coiled spring; C-clamps; a split ring; the two blocks assembled together with the



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   composite stock) that is designed to attach to a firearm and, when activated by a single
   pull of the trigger, initiates an automatic firing cycle that continues until either the finger
   is released or the ammunition supply is exhausted, is a machinegun under the National
   Firearms Act, 26 U.S.C. 5845(b), and the Gun Control Act, 18 U.S.C. 921(a)(23).

        Held further, manufacture and distribution of any device described in this ruling
   must comply with all provisions of the NFA and the GCA, including 18 U.S.C. 922(o).

   To the extent that previous ATF rulings are inconsistent with this determination, they are
   hereby overruled.


   Date approved: December 13, 2006




   Michael J. Sullivan
   Director




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 28 U.S.C. § 508. Vacancies

 (a) In case of a vacancy in the office of Attorney General, or of his absence or
 disability, the Deputy Attorney General may exercise all the duties of that office, and
 for the purpose of section 3345 of title 5 the Deputy Attorney General is the first
 assistant to the Attorney General.

 (b) When by reason of absence, disability, or vacancy in office, neither the Attorney
 General nor the Deputy Attorney General is available to exercise the duties of the
 office of Attorney General, the Associate Attorney General shall act as Attorney
 General. The Attorney General may designate the Solicitor General and the Assistant
 Attorneys General, in further order of succession, to act as Attorney General.




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 Federal Vacancies Reform Act, 5 U.S.C. §§ 3345-3349d

 § 3345. Acting officer
 (a) If an officer of an Executive agency (including the Executive Office of the
 President, and other than the Government Accountability Office) whose appointment
 to office is required to be made by the President, by and with the advice and consent
 of the Senate, dies, resigns, or is otherwise unable to perform the functions and duties
 of the office--
       (1) the first assistant to the office of such officer shall perform the functions
       and duties of the office temporarily in an acting capacity subject to the time
       limitations of section 3346;
       (2) notwithstanding paragraph (1), the President (and only the President) may
       direct a person who serves in an office for which appointment is required to be
       made by the President, by and with the advice and consent of the Senate, to
       perform the functions and duties of the vacant office temporarily in an acting
       capacity subject to the time limitations of section 3346; or
       (3) notwithstanding paragraph (1), the President (and only the President) may
       direct an officer or employee of such Executive agency to perform the
       functions and duties of the vacant office temporarily in an acting capacity,
       subject to the time limitations of section 3346, if--
              (A) during the 365-day period preceding the date of death, resignation,
              or beginning of inability to serve of the applicable officer, the officer or
              employee served in a position in such agency for not less than 90 days;
              and
              (B) the rate of pay for the position described under subparagraph (A) is
              equal to or greater than the minimum rate of pay payable for a position
              at GS-15 of the General Schedule.
 (b)(1) Notwithstanding subsection (a)(1), a person may not serve as an acting officer
 for an office under this section, if--
              (A) during the 365-day period preceding the date of the death,
              resignation, or beginning of inability to serve, such person--
                     (i) did not serve in the position of first assistant to the office of
                     such officer; or
                     (ii) served in the position of first assistant to the office of such
                     officer for less than 90 days; and



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              (B) the President submits a nomination of such person to the Senate for
              appointment to such office.
       (2) Paragraph (1) shall not apply to any person if--
              (A) such person is serving as the first assistant to the office of an officer
              described under subsection (a);
              (B) the office of such first assistant is an office for which appointment is
              required to be made by the President, by and with the advice and
              consent of the Senate; and
              (C) the Senate has approved the appointment of such person to such
              office.
 (c)(1) Notwithstanding subsection (a)(1), the President (and only the President) may
 direct an officer who is nominated by the President for reappointment for an
 additional term to the same office in an Executive department without a break in
 service, to continue to serve in that office subject to the time limitations in section
 3346, until such time as the Senate has acted to confirm or reject the nomination,
 notwithstanding adjournment sine die.
       (2) For purposes of this section and sections 3346, 3347, 3348, 3349, 3349a,
       and 3349d, the expiration of a term of office is an inability to perform the
       functions and duties of such office.


 § 3346. Time limitation
 (a) Except in the case of a vacancy caused by sickness, the person serving as an acting
 officer as described under section 3345 may serve in the office--
       (1) for no longer than 210 days beginning on the date the vacancy occurs; or
       (2) subject to subsection (b), once a first or second nomination for the office is
       submitted to the Senate, from the date of such nomination for the period that
       the nomination is pending in the Senate.
 (b)(1) If the first nomination for the office is rejected by the Senate, withdrawn, or
 returned to the President by the Senate, the person may continue to serve as the
 acting officer for no more than 210 days after the date of such rejection, withdrawal,
 or return.
       (2) Notwithstanding paragraph (1), if a second nomination for the office is
       submitted to the Senate after the rejection, withdrawal, or return of the first
       nomination, the person serving as the acting officer may continue to serve--



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               (A) until the second nomination is confirmed; or
               (B) for no more than 210 days after the second nomination is rejected,
               withdrawn, or returned.
 (c) If a vacancy occurs during an adjournment of the Congress sine die, the 210-day
 period under subsection (a) shall begin on the date that the Senate first reconvenes.


 § 3347. Exclusivity
 (a) Sections 3345 and 3346 are the exclusive means for temporarily authorizing an
 acting official to perform the functions and duties of any office of an Executive
 agency (including the Executive Office of the President, and other than the
 Government Accountability Office) for which appointment is required to be made by
 the President, by and with the advice and consent of the Senate, unless--
        (1) a statutory provision expressly--
               (A) authorizes the President, a court, or the head of an Executive
               department, to designate an officer or employee to perform the
               functions and duties of a specified office temporarily in an acting
               capacity; or
               (B) designates an officer or employee to perform the functions and
               duties of a specified office temporarily in an acting capacity; or
        (2) the President makes an appointment to fill a vacancy in such office during
        the recess of the Senate pursuant to clause 3 of section 2 of article II of the
        United States Constitution.
 (b) Any statutory provision providing general authority to the head of an Executive
 agency (including the Executive Office of the President, and other than the
 Government Accountability Office) to delegate duties statutorily vested in that agency
 head to, or to reassign duties among, officers or employees of such Executive agency,
 is not a statutory provision to which subsection (a)(1) applies.


 § 3348. Vacant office
 (a) In this section--
        (1) the term “action” includes any agency action as defined under section
        551(13); and




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       (2) the term “function or duty” means any function or duty of the applicable
       office that--
              (A)(i) is established by statute; and
              (ii) is required by statute to be performed by the applicable officer (and
              only that officer); or
              (B)(i)(I) is established by regulation; and
              (II) is required by such regulation to be performed by the applicable
              officer (and only that officer); and
              (ii) includes a function or duty to which clause (i)(I) and (II) applies, and
              the applicable regulation is in effect at any time during the 180-day
              period preceding the date on which the vacancy occurs.
 (b) Unless an officer or employee is performing the functions and duties in
 accordance with sections 3345, 3346, and 3347, if an officer of an Executive agency
 (including the Executive Office of the President, and other than the Government
 Accountability Office) whose appointment to office is required to be made by the
 President, by and with the advice and consent of the Senate, dies, resigns, or is
 otherwise unable to perform the functions and duties of the office--
       (1) the office shall remain vacant; and
       (2) in the case of an office other than the office of the head of an Executive
       agency (including the Executive Office of the President, and other than the
       Government Accountability Office), only the head of such Executive agency
       may perform any function or duty of such office.
 (c) If the last day of any 210-day period under section 3346 is a day on which the
 Senate is not in session, the second day the Senate is next in session and receiving
 nominations shall be deemed to be the last day of such period.
 (d)(1) An action taken by any person who is not acting under section 3345, 3346, or
 3347, or as provided by subsection (b), in the performance of any function or duty of
 a vacant office to which this section and sections 3346, 3347, 3349, 3349a, 3349b, and
 3349c apply shall have no force or effect.
       (2) An action that has no force or effect under paragraph (1) may not be
       ratified.
 (e) This section shall not apply to--
       (1) the General Counsel of the National Labor Relations Board;
       (2) the General Counsel of the Federal Labor Relations Authority;


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       (3) any Inspector General appointed by the President, by and with the advice
       and consent of the Senate;
       (4) any Chief Financial Officer appointed by the President, by and with the
       advice and consent of the Senate; or
       (5) an office of an Executive agency (including the Executive Office of the
       President, and other than the Government Accountability Office) if a statutory
       provision expressly prohibits the head of the Executive agency from
       performing the functions and duties of such office.


 § 3349. Reporting of vacancies
 (a) The head of each Executive agency (including the Executive Office of the
 President, and other than the Government Accountability Office) shall submit to the
 Comptroller General of the United States and to each House of Congress--
       (1) notification of a vacancy in an office to which this section and sections
       3345, 3346, 3347, 3348, 3349a, 3349b, 3349c, and 3349d apply and the date
       such vacancy occurred immediately upon the occurrence of the vacancy;
       (2) the name of any person serving in an acting capacity and the date such
       service began immediately upon the designation;
       (3) the name of any person nominated to the Senate to fill the vacancy and the
       date such nomination is submitted immediately upon the submission of the
       nomination; and
       (4) the date of a rejection, withdrawal, or return of any nomination immediately
       upon such rejection, withdrawal, or return.
 (b) If the Comptroller General of the United States makes a determination that an
 officer is serving longer than the 210-day period including the applicable exceptions to
 such period under section 3346 or section 3349a, the Comptroller General shall
 report such determination immediately to--
       (1) the Committee on Governmental Affairs of the Senate;
       (2) the Committee on Government Reform and Oversight of the House of
       Representatives;
       (3) the Committees on Appropriations of the Senate and House of
       Representatives;
       (4) the appropriate committees of jurisdiction of the Senate and House of
       Representatives;


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       (5) the President; and
       (6) the Office of Personnel Management.

 § 3349a. Presidential inaugural transitions
 (a) In this section, the term “transitional inauguration day” means the date on which
 any person swears or affirms the oath of office as President, if such person is not the
 President on the date preceding the date of swearing or affirming such oath of office.
 (b) With respect to any vacancy that exists during the 60-day period beginning on a
 transitional inauguration day, the 210-day period under section 3346 or 3348 shall be
 deemed to begin on the later of the date occurring--
       (1) 90 days after such transitional inauguration day; or
       (2) 90 days after the date on which the vacancy occurs.


 § 3349b. Holdover provisions
 Sections 3345 through 3349a shall not be construed to affect any statute that
 authorizes a person to continue to serve in any office--
       (1) after the expiration of the term for which such person is appointed; and
       (2) until a successor is appointed or a specified period of time has expired.


 § 3349c. Exclusion of certain officers
 Sections 3345 through 3349b shall not apply to--
       (1) any member who is appointed by the President, by and with the advice and
       consent of the Senate to any board, commission, or similar entity that--
              (A) is composed of multiple members; and
              (B) governs an independent establishment or Government corporation;
       (2) any commissioner of the Federal Energy Regulatory Commission;
       (3) any member of the Surface Transportation Board; or
       (4) any judge appointed by the President, by and with the advice and consent
       of the Senate, to a court constituted under article I of the United States
       Constitution.



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 § 3349d. Notification of intent to nominate during certain recesses or
 adjournments
 (a) The submission to the Senate, during a recess or adjournment of the Senate in
 excess of 15 days, of a written notification by the President of the President's
 intention to submit a nomination after the recess or adjournment shall be considered
 a nomination for purposes of sections 3345 through 3349c if such notification
 contains the name of the proposed nominee and the office for which the person is
 nominated.
 (b) If the President does not submit a nomination of the person named under
 subsection (a) within 2 days after the end of such recess or adjournment, effective
 after such second day the notification considered a nomination under subsection (a)
 shall be treated as a withdrawn nomination for purposes of sections 3345 through
 3349c.




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 Vacancies Act, 5 U.S.C. §§ 3345-3349 (1994)

 § 3345. Details; to office of head of Executive agency or military department

 When the head of an Executive agency (other than the General Accounting Office) or
 military department dies, resigns, or is sick or absent, his first assistant, unless
 otherwise directed by the President under section 3347 of this title, shall perform the
 duties of the office until a successor is appointed or the absence or sickness stops.

 § 3346. Details; to subordinate offices

 When an officer of a bureau of an Executive department or military department,
 whose appointment is not vested in the head of the department, dies, resigns, or is
 sick or absent, his first assistant, unless otherwise directed by the President under
 section 3347 of this title, shall perform the duties of the office until a successor is
 appointed or the absence or sickness stops.

 § 3347. Details; Presidential authority

 Instead of a detail under section 3345 or 3346 of this title, the President may direct
 the head of another Executive department or military department or another officer
 of an Executive department or military department, whose appointment is vested in
 the President, by and with the advice and consent of the Senate, to perform the duties
 of the office until a successor is appointed or the absence or sickness stops. This
 section does not apply to a vacancy in the office of Attorney General.

 § 3348. Details; limited in time

 (a) A vacancy caused by death or resignation may be filled temporarily under section
 3345, 3346, or 3347 of this title for not more than 120 days, except that—

        (1) if a first or second nomination to fill such vacancy has been submitted to
        the Senate, the position may be filled temporarily under section 3345, 3346, or
        3347 of this title—

               (A) until the Senate confirms the nomination; or

               (B) until 120 days after the date on which either the Senate rejects the
               nomination or the nomination is withdrawn; or




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       (2) if the vacancy occurs during an adjournment of the Congress sine die, the
       position may be filled temporarily until 120 days after the Congress next
       convenes, subject thereafter to the provisions of paragraph (1) of this
       subsection.

 (b) Any person filling a vacancy temporarily under section 3345, 3346, or 3347 of this
 title whose nomination to fill such vacancy has been submitted to the Senate may not
 serve after the end of the 120-day period referred to in paragraph (1)(B) or (2) of
 subsection (a) of this section, if the nomination of such person is rejected by the
 Senate or is withdrawn.

 § 3349. Details; to fill vacancies; restrictions

 A temporary appointment, designation, or assignment of one officer to perform the
 duties of another under section 3345 or 3346 of this title may not be made otherwise
 than as provided by those sections, except to fill a vacancy occurring during a recess
 of the Senate.




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 Act of May 8, 1792, ch. 37, § 8, 1 Stat. 279, 281

 And be it further enacted, That in case of the death, absence from the seat of
 government, or sickness of the Secretary of State, Secretary of the Treasury, or of the
 Secretary of the War department, or of any officer of either of the said departments
 whose appointment is not in the head thereof, whereby they cannot perform the
 duties of their said respective offices, it shall be lawful for the President of the U:dted
 States, in case he shall think it necessary, to authorize any person or persons at his
 discretion to perform the duties of the said respective offices until a successor be
 appointed, or until such absentee or inability by sickness shall cease.




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 Act of Feb. 13, 1795, ch. 21, 1 Stat. 415

 Be it enacted by the Senate and House of Representatives of the United States of America in
 Congress assembled, That in case of vacancy in the office of Secretary of State, Secretary
 of the Treasury, or of the Secretary of the department of War, or of any officer of
 either of the said departments, whose appointment is not in the head thereof,
 whereby they cannot perform the duties of their said respective offices; it shall be
 lawful for the President of the United States, in case he shall think it necessary, to
 authorize any person or persons, at his discretion, to perform the duties of the said
 respective offices, until a successor be appointed, or such vacancy be filled: Provided,
 That no one vacancy shall be supplied, in manner aforesaid, for a longer term than six
 months.




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